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       Attachment 1
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                                          has reviewed this action for factors and                 The Amendment                                                  Authority: 49 U.S.C. 106(g), 40103, 40113,
                                          circumstances in which a normally                                                                                     40120; E.O. 10854, 24 FR 9565, 3 CFR, 1959–
                                          categorically excluded action may have                     In consideration of the foregoing, the                     1963 Comp., p. 389.
                                          a significant environmental impact                       Federal Aviation Administration
                                                                                                                                                                § 71.1       [Amended]
                                          requiring further analysis. The FAA has                  amends 14 CFR part 71 as follows:
                                          determined no extraordinary                                                                                           ■ 2. The incorporation by reference in
                                          circumstances exist that warrant                         PART 71—DESIGNATION OF CLASS A,                              14 CFR 71.1 of FAA Order 7400.11D,
                                          preparation of an environmental                          B, C, D, AND E AIRSPACE AREAS; AIR                           Airspace Designations and Reporting
                                          assessment or environmental impact                       TRAFFIC SERVICE ROUTES; AND                                  Points, dated August 8, 2019, and
                                          study.                                                   REPORTING POINTS                                             effective September 15, 2019, is
                                                                                                                                                                amended as follows:
                                          List of Subjects in 14 CFR Part 71                       ■ 1. The authority citation for part 71                      Paragraph 6011 United States Area
                                           Airspace, Incorporation by reference,                   continues to read as follows:                                Navigation Routes.
                                          Navigation (air).                                                                                                     *        *        *   *   *
                                                                      T–217  LEXINGTON, KY (HYK) TO BONEE, OH [AMENDED]
                                                                      Lexington, KY (HYK)             VORTAC          (Lat.      37°57′58.86″   N,   long.   84°28′21.06″    W)
                                                                      BOSTR, OH                       FIX             (Lat.      38°53′08.13″   N,   long.   84°04′58.02″    W)
                                                                      HEDEN, OH                       FIX             (Lat.      39°16′44.88″   N,   long.   84°02′02.37″    W)
                                                                      PRUDE, OH                       FIX             (Lat.      39°25′44.92″   N,   long.   83°56′58.60″    W)
                                                                      Springfield, OH (SGH)           DME             (Lat.      39°50′11.55″   N,   long.   83°50′41.84″    W)
                                                                      BONEE, OH                       FIX             (Lat.      40°03′08.85″   N,   long.   83°56′56.15″    W)


                                          *      *      *       *      *                           DATES: This final rule is effective March                    a companion rule in this edition of the
                                            Issued in Washington, DC, on January 15,               9, 2020.                                                     Federal Register.
                                          2020.                                                                                                                    Pursuant to section 38(a)(1) of the
                                                                                                   FOR FURTHER INFORMATION CONTACT:                             Arms Export Control Act (AECA), all
                                          Scott M. Rosenbloom,                                     Sarah Heidema, Office of Defense Trade                       defense articles controlled for export or
                                          Acting Manager, Rules and Regulations                    Controls Policy, Department of State,
                                          Group.
                                                                                                                                                                import are part of the USML under the
                                                                                                   telephone (202) 663–2809; email DDTC                         AECA. All references to the USML in
                                          [FR Doc. 2020–00995 Filed 1–22–20; 8:45 am]              PublicComments@state.gov. ATTN:                              this rule, however, are to the list of
                                          BILLING CODE 4910–13–P                                   Regulatory Change, USML Categories I,                        AECA defense articles that are
                                                                                                   II, and III.                                                 controlled for purposes of export or
                                                                                                   SUPPLEMENTARY INFORMATION:         The                       temporary import pursuant to the ITAR,
                                          DEPARTMENT OF STATE                                                                                                   and not to the list of AECA defense
                                                                                                   Directorate of Defense Trade Controls
                                                                                                   (DDTC), U.S. Department of State,                            articles on the United States Munitions
                                          22 CFR Parts 121, 123, 124, 126, and                                                                                  Import List (USMIL) that are controlled
                                          129                                                      administers the International Traffic in
                                                                                                   Arms Regulations (ITAR) (22 CFR parts                        by the Bureau of Alcohol, Tobacco,
                                          [Public Notice: 10603]                                   120 through 130). On May 24, 2018,                           Firearms and Explosives (ATF) for
                                                                                                   DDTC published a proposed rule, 83 FR                        purposes of permanent import under its
                                          RIN 1400–AE30
                                                                                                   24198, for public comment regarding                          regulations at 27 CFR part 447.
                                          International Traffic in Arms                            proposed revisions to Categories I, II,                      References to the USMIL are to the list
                                          Regulations: U.S. Munitions List                                                                                      of AECA defense articles controlled by
                                                                                                   and III of the ITAR’s U.S. Munitions List
                                          Categories I, II, and III                                                                                             ATF for purposes of permanent import.
                                                                                                   (USML) (22 CFR 121.1). After review of                          Section 38(b)(1)(A)(ii) of the AECA,
                                          AGENCY:     Department of State.                         received comments and with the                               requires, with limited exceptions,
                                                                                                   revisions to the proposed rule further                       registration of persons who engage in
                                          ACTION:    Final rule.                                   described below, DDTC now publishes                          the business of brokering activities with
                                          SUMMARY:   The Department of State (the                  this final rule to amend the ITAR.                           respect to the manufacture, export,
                                          Department) amends the International                        The articles and related technical data                   import, or transfer of any defense article
                                          Traffic in Arms Regulations (ITAR) to                    subject to the jurisdiction of the ITAR,                     or defense service designated by the
                                          revise Categories I—firearms, close                      i.e., ‘‘defense articles,’’ are identified on                President as such under section 38(a)(1)
                                          assault weapons and combat shotguns,                     the USML. With few exceptions, items                         and licensing for such activities.
                                          II—guns and armament, and III—                           not subject to the export control                            Through Executive Order 13637, the
                                          ammunition/ordnance of the U.S.                          jurisdiction of the ITAR are subject to                      President delegated the responsibility
                                          Munitions List (USML) to describe more                   the jurisdiction of the Export                               for registration and licensing of
                                          precisely the articles that provide a                    Administration Regulations (EAR, 15                          brokering activities to the Department of
                                          critical military or intelligence                        CFR parts 730 through 774, which                             State with respect to defense articles or
                                          advantage or, in the case of weapons,                    includes the Commerce Control List                           defense services controlled either for
                                          perform an inherently military function                  (CCL) in Supplement No. 1 to part 774),                      purposes of export by the Department of
                                          and thus warrant export and temporary                    administered by the Bureau of Industry                       State or for purposes of permanent
                                          import control on the USML. These                        and Security (BIS), U.S. Department of                       import by ATF. Section 129.1 of the
                                          revisions complete the initial review of                 Commerce. Both the ITAR and the EAR                          ITAR states this requirement. As such,
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                                          the USML that the Department began in                    impose license requirements on exports                       all defense articles described in the
                                          2011. Items not subject to the ITAR or                   and reexports. Items not subject to the                      USMIL or the USML are subject to the
                                          to the exclusive licensing jurisdiction of               ITAR or to the exclusive licensing                           brokering controls administered by the
                                          any other set of regulations are subject                 jurisdiction of any other set of                             U.S. Department of State in part 129 of
                                          to the Export Administration                             regulations are subject to the EAR. The                      the ITAR. The transfer of jurisdiction
                                          Regulations.                                             Department of Commerce is publishing                         from the ITAR’s USML to the EAR’s


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                                          CCL for purposes of export controls                     while comments specific to a Category                  repeatedly stated its goals for that
                                          does not affect the list of defense articles            or amended section of the ITAR are                     program (see e.g., 76 FR 68694 (Nov. 7,
                                          controlled on the USMIL under the                       addressed in the relevant discussion of                2011), 76 FR 76097 (Dec. 6, 2011), 80 FR
                                          AECA for purposes of permanent import                   revisions to Categories I, II, or III, or in           11313 (Mar. 2, 2015), 82 FR 4226 (Jan.
                                          or brokering controls for any brokering                 the discussion under the title of                      13, 2017)). First, that it is seeking to
                                          activity, including facilitation in their               ‘‘Conforming ITAR Changes.’’                           better focus its resources on protecting
                                          manufacture, export, permanent import,                                                                         those articles and technologies that
                                                                                                  Comments of General Applicability
                                          transfer, reexport, or retransfer. This                                                                        provide the United States with a critical
                                          rule adds two new paragraphs,                              The Department believes that a                      military or intelligence advantage. As
                                          (b)(2)(vii) and (viii), to § 129.2 to update            restatement of the overall principles                  applied to this rule, for example,
                                          the enumerated list of actions that are                 behind the multi-year review of the                    firearms and firearms technology that
                                          not brokering. This change is a                         USML and the efforts to better                         are otherwise readily available do not
                                          conforming change and is needed to                      harmonize the ITAR and the EAR and                     provide such an advantage, whereas an
                                          address the transfer from the USML to                   the larger U.S. government’s export                    M134 Minigun or the next generation
                                          the CCL of USMIL defense articles that                  control system is applicable to many of                squad automatic rifle continues to
                                          remain subject to the brokering controls,               the comments received and to the                       warrant USML control even if there is
                                          and to ensure that the U.S. government                  reasoning behind this rule. Therefore,                 some limited civil availability for either.
                                          does not impose a double licensing                      before addressing individual comments,                 Second, to resolve jurisdictional
                                          requirement on the export, reexport, or                 the Department reiterates that it, along               confusion between the ITAR and EAR
                                          retransfer of such items subject to the                 with its interagency partners, is engaged              among the regulated community
                                          EAR or continue to require registration                 in a years-long effort to revise the USML              through revision to ‘‘bright line’’
                                          with the Department solely based on                     to limit its scope to those items that                 positive lists. Third, to provide clarity to
                                          activities related to the manufacture of                provide the United States with a critical              the regulated community thereby
                                          these items.                                            military or intelligence advantage or, in              making it easier for exporters to comply
                                             The Department of State is engaged in                the case of weapons, perform an                        with the regulations and enable them to
                                          an effort, described more fully below, to               inherently military function. Review of                compete more successfully in the global
                                          revise the USML so that its scope is                    the USML is statutorily required by                    marketplace. Finally, to develop a
                                          limited to those defense articles that                  section 38(f) of the AECA, and the                     regulatory system that supports
                                          provide the United States with a critical               Department conducts this review in                     enhanced interoperability between the
                                          military or intelligence advantage or, in               accordance with, and in full recognition               United States and its allies and partners
                                          the case of weapons, have an inherently                 of, the President’s authority, conferred               and thereby better supports our ability
                                          military function. The Department has                   in section 38(a) of the Act, to control the            to address shared security challenges.
                                          undertaken these revisions pursuant to                  import and export of defense articles                     With respect to revisions of Categories
                                          the President’s delegated discretionary                 and defense services in furtherance of                 I–III, the review was focused on
                                          statutory authority in section 38(a)(1) of              world peace and the security and                       identifying the defense articles that are
                                          the AECA to control the import and                      foreign policy of the United States, and               now controlled on the USML that are
                                          export of defense articles and defense                  to designate those items that constitute               either (i) inherently military and
                                          services in furtherance of world peace                  the USML. In connection with this                      otherwise warrant control on the USML
                                          and the security and foreign policy of                  effort, the Department has published 26                or (ii) if of a type common to non-
                                          the United States and to designate those                final, or interim final, rules revising                military firearms applications, possess
                                          items which constitute the USML. The                    eighteen of the twenty-one USML                        parameters or characteristics that
                                          Department determined that the articles                 categories, removing less sensitive items              provide a critical military or intelligence
                                          in USML Categories I, II, and III that are              from the USML. While a wide range of                   advantage to the United States. If a
                                          removed from the USML under this                        interagency stakeholders review and                    defense article satisfies one or both of
                                          final rule do not meet this standard,                   clear the Federal Register notices that                those criteria, it remained on the USML.
                                          including many articles that are widely                 revise the USML, the Department works                  For example, while the U.S. military
                                          available in retail outlets in the United               particularly closely with the                          supplies some of its service members
                                          States and abroad (such as many                         Departments of Defense and Commerce                    with sidearms for military use, a
                                          firearms previously described in                        to solicit their views on the appropriate              sidearm also has many uses outside of
                                          Category I, paragraph (a), including, for               composition of the USML. As required                   the military, such that its function is not
                                          example, a .22 caliber rifle).                          by Executive Order 13637, the                          inherently military and therefore it does
                                             The descriptions below describe the                  Department obtains the concurrence of                  not warrant control on the USML.
                                          status of the subject categories of the                 the Secretary of Defense for                           Alternatively, squad automatic weapons
                                          USML and CCL as of the effective date                   designations, including changes in                     do not generally have such non-military
                                          of this rule and the companion rule                     designations, of items or categories of                uses and remain controlled on the
                                          published by the Department of                          items that are defense articles and                    USML in this final rule. Any single non-
                                          Commerce in this Federal Register                       defense services enumerated on the                     military use, however, does not negate
                                          issue. Any reference in the preamble to                 USML. The engagement with the                          such a weapon’s inherently military
                                          this final rule to transfer from the USML               Department of Commerce is further                      function. In summary, the Department
                                          to the CCL reflects the combined effects                intended to ensure that the                            analyzes the patterns, both current and
                                          of removal of the defense article from                  jurisdictional posture of a given item is              anticipated, of use and availability of
                                          the controls of the ITAR by virtue of the               clear, and that the application of ITAR                the defense articles and the utility they
                                          removal of an item (i.e., enumerated                    or EAR controls to that item can be                    provide to the U.S. military or
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                                          control text) from the USML by this rule                discerned and understood by the public.                intelligence community to inform the
                                          and the corresponding adoption of the                      The Department underscores that this                ultimate determination as to whether
                                          former defense article as an item subject               rule constitutes an important part of a                control is merited on the USML.
                                          to the EAR by action of the companion                   nine-year program of revisions that has                   The Department recognizes the
                                          rule. Comments regarding the overall                    streamlined the USML. From the                         sensitivities and foreign policy
                                          rule are addressed immediately below,                   beginning, the Department has                          implications associated with the sale


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                                          and export of small arms, light weapons,                exporters to ship firearms to countries                commitments, as the U.S. government
                                          and associated equipment and                            where the end-use is illegal.                          will continue to apply a high level of
                                          ammunition as expressed in the                             Several commenters predicted that                   control to these items and require U.S.
                                          President’s National Security Policy                    the rule will make it easier for foreign               government authorization for all exports
                                          Memorandum Regarding U.S.                               manufacturers to obtain U.S.-origin                    of firearms and major components.
                                          Conventional Arms Transfer Policy of                    components and proprietary technology,                    Multiple commenters raised concerns
                                          April 19, 2018 (Conventional Arms                       thereby causing U.S. firearms                          about the role and function of the
                                          Transfer Policy). Those sensitivities and               manufacturers to lose global market                    Department of Commerce regarding the
                                          foreign policy implications will                        share. The Department refers the                       items that are transferred from the
                                          continue to be addressed through the                    commenters to the above-stated                         USML to the CCL. Some commenters
                                          licensing and enforcement requirements                  objectives of this review effort, which                expressed concerns that the Department
                                          of the Department of Commerce. All                      include making it easier for exporters to              of Commerce has neither the
                                          export license applications for the items               comply with export control regulations                 appropriate resources nor the
                                          transitioning to Commerce jurisdiction                  and enabling them to compete more                      appropriate expertise or mission to
                                          are subject to review by the interagency,               successfully in the global marketplace.                process associated applications for
                                          specifically the Departments of State,                  The Department further notes that this                 export. Other commenters asserted that
                                          Defense, and Energy, as appropriate.                    rule is expected to provide certain key                because the Department of Commerce,
                                          The Department will continue to                         advantages that will substantially                     unlike the Department of State, does not
                                          advance its foreign policy mission by                   benefit domestic manufacturers by: (1)                 charge registration or licensing fees, the
                                          reviewing all license applications                      Amending the regulatory burden on the                  transfer to the CCL constitutes an
                                          submitted to the Department of                          U.S. commercial firearms and                           unnecessary burden on taxpayers. As
                                          Commerce for the export of firearms and                 ammunition industry; (2) clarifying the                stated previously, the Department is
                                          related technology.                                     regulatory requirements for independent                engaged in an effort to revise the USML
                                             Multiple commenters took issue with                  gunsmiths; and (3) enabling foreign                    so that its scope is limited to those
                                          the proposed transfer from the USML to                  manufacturers to source from small- and                defense articles that warrant the U.S.
                                          the CCL of weapons that the Department                  medium-sized U.S. companies more                       government’s highest level of export
                                          determined, in conjunction with its                     easily.                                                control because those defense articles
                                                                                                     Several commenters predicted that                   offer a critical military or intelligence
                                          interagency partners, are not inherently
                                                                                                  this rule will diminish the United                     advantage or, in the case of weapons,
                                          for military end-use, citing the fact that
                                                                                                  States’ ability to set global normative                have an inherently military function.
                                          military and law enforcement personnel
                                                                                                  standards for arms transfers and non-                  The revisions implemented by the
                                          regularly use them. As previously noted,                proliferation. The Department strongly                 Department are necessary in order to
                                          the fact that a military uses a specific                disagrees and remains fully committed                  focus our resources on such defense
                                          piece of hardware is not a dispositive                  to the goals outlined in the AECA. In                  articles. This effort in general, and this
                                          factor when determining whether it has                  particular, the Department takes                       rule in particular, were developed in
                                          an inherently military function. Given                  seriously its responsibility to implement              close consultation with other
                                          that the majority of the items referenced               the AECA’s declaration that: ‘‘It shall be             departments and agencies, including the
                                          in these comments that will transfer to                 the policy of the United States to exert               Department of Commerce. While the
                                          the CCL through this rule are widely                    leadership in the world community to                   Department of Commerce is best suited
                                          available in retail outlets in the United               bring about arrangements for reducing                  to address the specific details of the
                                          States and abroad, and widely utilized                  the international trade in implements of               implementation of its regulations and its
                                          by the general public in the United                     war and to lessen the danger of outbreak               allocation of appropriated resources, the
                                          States, it is reasonable for the                        of regional conflict and the burdens of                Department is confident that the
                                          Department to determine that they do                    armaments’’ (22 U.S.C. 2751). The                      framework for control of firearms, and
                                          not serve an inherently military                        Department will continue to meet this                  parts and components thereof, across
                                          function, absent specific characteristics               responsibility, in part, by reviewing                  the EAR and the ITAR is sufficient to
                                          that provide military users with                        export license applications for items                  address the concerns of the U.S
                                          significantly enhanced utility, such as                 subject to the EAR that were formerly                  government and does not diminish or
                                          automatic weapons, sound suppressors,                   controlled by the ITAR, including those                damage the national security or foreign
                                          and high capacity magazines.                            on the Wassenaar Arrangement on                        policy interests of the United States.
                                             Several commenters disputed that the                 Export Controls for Conventional Arms                  The Department does not share the
                                          U.S. market should be the basis for                     and Dual-Use Goods and Technologies                    concerns expressed about the
                                          assessing the commercial availability of                (Wassenaar Arrangement) control lists.                 Department of Commerce’s expertise or
                                          firearms, as this is not the market to                  The Department will continue to take                   mission, and the Department further
                                          which the proposed rule would be                        into account the considerations of                     notes that the Department of Commerce
                                          directed. The Department recognizes                     Section 3 of the Conventional Arms                     has been licensing shotguns and
                                          that there are variations in commercial                 Transfer Policy, such as the national                  shotgun ammunition, as well as various
                                          availability of firearms not only between               security and foreign policy interests of               firearms-related articles such as sighting
                                          nations, but also within the domestic                   the United States, when making arms                    devices and a range of other similar
                                          market itself; however, this variation in               transfer decisions, both for firearms that             articles and technologies, for decades.
                                          availability does not overcome the                      remain subject to the ITAR and firearms                Additionally, the Department of
                                          Department’s assessment that the                        that are subject to the EAR.                           Commerce has investigated and
                                          subject firearms do not provide a critical                 Other commenters suggested that this                disrupted numerous diversion rings
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                                          military or intelligence advantage such                 rule contravenes international                         related to EAR-controlled items and will
                                          that they warrant control under the                     commitments the United States has                      apply its years of export control
                                          ITAR. In addition, all exports of                       made through mechanisms such as the                    enforcement expertise to the items this
                                          firearms are subject to the laws of the                 Wassenaar Arrangement. The transfer of                 rule transfers to its jurisdiction.
                                          importing country, and the U.S.                         the concerned items to the CCL does not                   Multiple commenters expressed a
                                          government does not issue licenses for                  contravene U.S. international                          general concern that the transfer to the


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                                          CCL increases the risk of overseas                      rulemaking; however, the Department                    Similarly, as part of the aforementioned
                                          trafficking, proliferation, or diversion.               highlights that the Department of                      continuing interagency review of export
                                          Multiple commenters also raised                         Commerce does not have a registration                  licenses for firearms, the Departments of
                                          concerns about the Department of                        requirement for manufacturers and                      Defense and State will review export
                                          Commerce’s end-use monitoring (EUM)                     exporters of the items under its                       license applications on a case-by-case
                                          capabilities and the impact this rule has               jurisdiction. Therefore, gunsmiths that                basis for national security and foreign
                                          on the Department of State’s EUM                        do not manufacture, export, or broker                  policy reasons, including the prevention
                                          programs. This rule does not deregulate                 articles that remain subject to the ITAR               of human rights abuses.
                                          the export of firearms. All firearms and                after this rule’s effective date will no                  One commenter expressed concern
                                          major components being transferred to                   longer need to determine if they are                   that foreign law enforcement personnel
                                          the CCL will continue to require export                 required to register under the ITAR.                   in particular are at risk of having the
                                          authorization from the Department of                    They may, however, still be required to                transferred CCL items used against
                                          Commerce. Further, the Department of                    comply with ATF licensing                              them. These concerns are mitigated by
                                          Commerce has both a robust EUM                          requirements. Any additional changes to                the fact that, as stated previously: (1)
                                          program and a law enforcement division                  the ITAR related to the registration                   These articles remain subject to the
                                          sufficiently capable of monitoring                      requirement would be addressed in a                    Department of Commerce’s EUM
                                          foreign recipients’ compliance with                     separate rulemaking.                                   programs that vet potential end-users of
                                          their obligations regarding the transfer,                  On the issue of registration, one                   concern, and (2) license applications for
                                          use, and protection of items on the CCL.                commenter noted that as a result of this               CCL items will be approved only if their
                                          Additionally, the Federal Bureau of                     rule some U.S. manufacturers may no                    end-use is permitted under the laws of
                                          Investigation and the Department of                     longer have to register with the                       the importing country.
                                          Homeland Security will continue to                      Department of State and be subject to                     Multiple commenters expressed
                                          investigate and enforce criminal                        the requirements in ITAR § 122.4(b) for                concerns that, as a result of the revision
                                          violations of the export control laws as                advance notification of intended sales or              of the USML to remove items from
                                          appropriate. This rule also will not                    transfers to foreign persons of                        Category I, the rule will also remove
                                          impact the Department’s ability to                      ownership or control of the registrant.                from the USML the technical data
                                          execute the Blue Lantern EUM program                    The commenter asserted that without                    directly related to these items, thereby
                                          required by section 40A of the AECA, 22                 the advance notification requirement                   lifting a purported block on the
                                          U.S.C. 2785. Finally, this rule will not                foreign entities could potentially                     domestic dissemination of computer-
                                          affect existing federal or state public                 influence the sales and marketing                      aided design (CAD) files for the three-
                                          safety laws that address domestic                       activities of U.S. manufacturers in a                  dimensional (3–D) printing or CAD-
                                          criminal conduct.                                       manner that would be detrimental to                    enabled production of firearms.
                                             Several commenters expressed                         U.S. national security. The Department                 Commenters suggested that use of these
                                          concern that the Department of                          notes in response that its regulatory                  files in the United States could lead to
                                          Commerce will not have access to the                    authorities are limited to export-related              a potential increase in the number of
                                          same databases and background                           activities for defense articles and                    unserialized firearms in circulation, or
                                          information that the Department of State                services, and highlights that other                    the manufacture or distribution of a
                                          uses to evaluate license applications.                  federal regulatory regimes, such as the                non-metal firearm otherwise prohibited
                                          Similarly, some commenters expressed                    Committee on Foreign Investment in the                 under federal law. Some commenters
                                          concern that as a result of this rule some              United States, have the ability to                     also expressed concerns that foreign
                                          exporters will no longer be subject to                  address potential foreign ownership or                 dissemination of such files could
                                          U.S. government registration                            control issues that may impact national                provide adversaries with a military or
                                          requirements, thereby depriving                         security.                                              intelligence advantage.
                                          regulators of an important source of                       Multiple commenters expressed                          The Department considered the
                                          information and decreasing                              concerns that this rule would reduce                   concerns of the commenting parties.
                                          transparency and reporting regarding                    congressional oversight of arms transfers              While the Department concluded that
                                          firearms exports. The Department                        since the Department of Commerce does                  these concerns do not warrant
                                          considered these concerns and                           not have to notify Congress of firearms                modification to the controls on the
                                          determined that the interagency license                 sales in excess of $1 million as the                   USML, the Department of Commerce, as
                                          review process maintains appropriate                    Department of State does. The                          described below, determined that
                                          oversight of the articles at issue. The                 Department acknowledges those                          certain modifications to its companion
                                          Department of Commerce’s export                         concerns and notes that those firearms                 rule are warranted to address similar
                                          licensing requirements and process are                  that the U.S. government deemed                        concerns expressed by commenters to
                                          calibrated both to the sensitivity of the               through the interagency review process                 its proposed rule.
                                          article and the proposed destination.                   to warrant continued control under the                    As an initial matter, the Department
                                          Additionally, all requests for export                   ITAR as defense articles will remain                   reiterates that the scope of this
                                          licenses for firearms remain subject to                 subject to congressional notification                  rulemaking is limited to the
                                          interagency review, including by the                    requirements in conformity with section                Department’s delegated authority under
                                          Department of State.                                    36 of the AECA and Executive Order                     the AECA. Neither the AECA nor ITAR
                                             Several commenters suggested that                    13637.                                                 expressly provide the Department with
                                          the Department create a registration                       A number of commenters suggested                    authority to regulate the distribution of
                                          exemption or reduce registration fees for               the proposed rule, if made final, may                  technical data in the United States to
                                          small volume non-exporting firearms                     have a negative impact on human rights                 U.S. persons. This applies to all
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                                          manufacturers. Multiple commenters                      in foreign countries. As stated                        technical data subject to the ITAR,
                                          similarly suggested modifying ITAR                      previously, the Department of                          regardless of whether it is for the
                                          § 122.1 to include a minimum size                       Commerce will continue its                             manufacture of ITAR-controlled
                                          requirement for registration.                           longstanding end-use monitoring efforts,               firearms or any other defense article.
                                          Modification of the requirements of part                including vetting of potential end-users,              Furthermore, the Department notes that
                                          122 is outside the scope of this                        to help prevent human rights abuses.                   the AECA does not provide the


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                                          Department with the authority to (1)                    maintaining inclusion on the USML, the                 the United States. The Department did
                                          prohibit the domestic manufacture or                    Department agrees with the Department                  not receive any further information to
                                          possession of firearms, whether                         of Commerce that maintaining controls                  support the assertion that the
                                          produced from CAD files with a 3–D                      over such exports under the EAR                        hypothetical diversion of temporary
                                          printer or otherwise, or (2) regulate the               remains in the national security and                   imports of firearms from foreign
                                          domestic distribution among U.S.                        foreign policy interests of the United                 countries would appreciably bolster
                                          persons of any defense article, including               States. The Department of Commerce                     criminal access to such items. The
                                          firearms. Domestic activities that do not               has recognized in its companion rule                   Department additionally notes that
                                          involve release to foreign persons are                  that concerns raised over the possibility              other departments and agencies possess
                                          generally left to other federal agencies—               of widespread and unchecked                            enforcement capabilities relevant to
                                          and the states—to regulate. The                         availability of 3–D printing technology                criminal acquisition of firearms within
                                          manufacture, import, sale, shipment,                    and software, the lack of government                   the United States.
                                          delivery, transfer, receipt, or possession              visibility into production and use, and                   One commenter recommended
                                          of firearms that are undetectable as                    the potential damage to U.S. counter-                  coordinating proposed changes with
                                          provided in federal law is a federal                    proliferation efforts warrant making                   ATF so that the corresponding changes
                                          crime, punishable by fine and/or up to                  certain technology and software capable                are made to the U.S. Munitions Import
                                          five years in prison. 18 U.S.C. 924(f).                 of producing firearms subject to the EAR               List (USMIL) at the same time, which
                                          Among other statutes, the Undetectable                  when posted on the internet, as                        would prevent businesses from having
                                          Firearms Act of 1988 prohibits the                      described in the Department of                         to consult both the USML and USMIL
                                          manufacture, possession, sale, import,                  Commerce’s companion rule. The                         when deciding whether a transaction
                                          shipment, delivery, receipt, or transfer                Department agrees that EAR controls on                 involves brokering. The USML and the
                                          of undetectable firearms. See 18 U.S.C.                 technology and software for firearms                   USMIL are separate lists of AECA
                                          922(p).                                                 previously controlled in USML Category                 defense articles with both shared as well
                                             When determining whether                             I(a)—and for all other items this rule                 as different AECA objectives, and as
                                          nonautomatic and semi-automatic                         removes from the USML—sufficiently                     such warrant the retention as separate
                                          firearms to .50 caliber (12.7mm)                        address the U.S. national security and                 lists for AECA defense article and
                                          inclusive should be removed from the                    foreign policy interests relevant to                   control purposes.
                                          USML, and the technical data directly                   export controls. In sum, while                         Effective Date
                                          related thereto, the Department                         Commerce controls over such items and
                                          evaluated whether the hardware and its                  technology and software are                               The Department has determined that
                                          directly related technical data would                   appropriate, continued inclusion of                    the appropriate effective date for this
                                          confer a critical military or intelligence              them on the USML is not.                               final rule is March 9, 2020. The
                                          advantage or whether they are                              This rule is consistent with broader                Department notes that the Department
                                          inherently military based on their                      USML to CCL review efforts. During the                 has previously articulated a policy of
                                          function. The Department made a                         multi-year process of reviewing and                    providing a 180-day transition period
                                          determination that neither the hardware                 revising the USML, the Department has                  between the publication of the final rule
                                          nor its directly related technical data                 exercised its discretion, authorized by                for each revised USML category and the
                                          met these criteria. In response to the                  delegation in section 38(a)(1) of the                  effective date of the transition to the
                                          specific comments related to the                        AECA, to determine which national                      CCL for items that will undergo a
                                          potential uses for CAD files that can be                security and foreign policy interests                  change in export jurisdiction. See 78 FR
                                          used to 3–D print firearms, the                         warrant consideration within the                       22,740, 22,747 (Apr. 16, 2013). In
                                          Department confirms that it did                         context of export controls. Under its                  addition, some commenters suggested
                                          consider the potential uses for these                   current standard, the Department                       that the final rule should have a delayed
                                          CAD files in its review. The Department                 assesses the national security and                     effective date or a split effective date for
                                          determined, in consultation with the                    foreign policy interests against factors,              companies of a particular size. However,
                                          Department of Defense and other                         such as those discussed above and in                   in consultation with interagency
                                          interagency partners, that these CAD                    other Federal Register notices, in                     partners, the Department has
                                          files do not confer a critical military or              assessing whether items merit inclusion                determined that, based on the nature of
                                          intelligence advantage and are not                      on the USML; this analysis has resulted                the items at issue, a 180-day transition
                                          inherently military based on their                      in a number of items previously                        period or a delayed or a split effective
                                          function. This determination took into                  included in other USML categories                      date for certain companies is not
                                          account the effect that a transfer to the               being transferred to the EAR (see, e.g.,               necessary.
                                          CCL would have on the national                          78 FR 22740 (Apr. 16, 2013), 81 FR
                                                                                                                                                         Revision of Category I
                                          security and foreign policy interests of                70340 (Oct. 12, 2016)). Through this
                                          the United States, consistent with the                  rule, the Department is now applying                      This final rule renames Category I as
                                          AECA and ITAR, to include the degree                    this standard to Categories I, II, and III             ‘‘USML Category I—Firearms and
                                          to which it would limit the ability of a                of the USML. As previously noted, the                  Related Articles’’ (formerly ‘‘Category
                                          foreign person to obtain CAD files,                     AECA requires periodic review of the                   I—Firearms, Close Assault Weapons and
                                          publish them on the internet, and                       USML, and the Department will                          Combat Shotguns’’) and amends the
                                          subsequently manufacture CCL-                           continue to evaluate technological                     category to control only defense articles
                                          controlled firearms, including those that               advancements, including those related                  that are inherently military or that are
                                          are unserialized or manufactured from a                 to 3–D printing, to inform future                      not otherwise widely available for
                                          non-metallic material.                                  revisions to the USML.                                 commercial sale. In particular, the
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                                             Although the Department determined                      One commenter predicted that the                    amended category does not include non-
                                          that such hardware and its directly                     rule’s effect of removing licensing                    automatic and semi-automatic firearms
                                          related technical data do not confer a                  requirements for temporary imports of                  to .50 caliber (12.7mm) inclusive,
                                          critical military or intelligence                       the items removed from the USML                        formerly controlled under paragraph (a),
                                          advantage or perform an inherently                      would create another channel for                       and all of the parts, components,
                                          military function for purposes of                       criminal elements to obtain weapons in                 accessories, and attachments for those


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                                          articles. Such items are subject to the                 and accessories or attachments specially               response, the final rule revises the
                                          new controls in Export Control                          designed to automatically stabilize aim                proposed rule by moving the specially
                                          Classification Numbers 0A501, 0A502,                    (other than gun rests) or for automatic                designed parts and components for
                                          0A503, 0A504, 0A505, 0B501, 0B505,                      targeting. In a change from the proposed               paragraphs (c) and (e) to (h) where they
                                          0D501, 0D505, 0E501, 0E502, 0E504,                      rule, this final rule paragraph (h)                    are not designated as SME.
                                          and 0E505, which also includes the                      includes a new paragraph (h)(3) to                        Multiple commenters suggested that
                                          items moved from Category II described                  control parts and components specially                 the rule should remove firearm sound
                                          below. Such controls in Category 0 of                   designed for defense articles in (c) and               suppressors (silencers) from paragraph
                                          the CCL are being published in the                      (e) as described above. This addition                  (e) and transfer them to the CCL. The
                                          companion rule by the Department of                     necessitated the renumbering of                        Department recognizes that sound
                                          Commerce.                                               proposed paragraph (h)(3) to (h)(4) in                 suppressors (silencers) are sold
                                             Paragraph (a) of amended USML                        this final rule. Paragraph (i) covers the              commercially in some jurisdictions,
                                          Category I covers firearms that fire                    technical data and defense services                    often for use at ranges or for hunting in
                                          caseless ammunition. Paragraph (b)                      directly related to all of the defense                 certain environments, although their
                                          continues to cover fully automatic                      articles in the category as well as                    availability in retail markets varies
                                          firearms, which are firearms that shoot                 classified technical data directly related             significantly within the United States as
                                          more than one bullet by a single                        to items controlled in ECCNs 0A501,                    well as foreign countries. However,
                                          function of the trigger, to .50 caliber                 0B501, 0D501, and 0E501 and defense                    sound suppressors (silencers) provide
                                                                                                  services using the classified technical                the capability to muffle the sound of
                                          (12.7mm) inclusive. Paragraph (c)
                                                                                                  data. This is a change from the proposed               weapons fire, which can degrade the
                                          covers firearms specially designed to
                                                                                                  rule, in which defense articles in                     ability of an adversary to localize the
                                          integrate fire control, automatic
                                                                                                  paragraph (c) were inadvertently                       source of the incoming rounds and
                                          tracking, or automatic firing systems,
                                                                                                  omitted from the technical data                        return fire or raise an alarm. The
                                          and all weapons previously described in
                                                                                                  paragraph.                                             Department has determined, in
                                          paragraph (c) that remain on the USML
                                                                                                     This rule adds a new (x) paragraph to               coordination with the interagency, that
                                          are now covered by paragraphs (a), (b)
                                                                                                  USML Category I, allowing ITAR                         silencers continue to warrant control on
                                          or (c) of this category or by Category II.
                                                                                                  licensing for all commodities, software,               the USML.
                                          Specially designed parts and                                                                                      One commenter requested
                                                                                                  and technology subject to the EAR,
                                          components for the defense articles that                provided those commodities, software,                  clarification regarding paragraph (g) and
                                          remain in paragraph (c) are moved to                    and technology are to be used in or with               the barrels, receivers (frames), bolts, bolt
                                          Category I paragraph (h) of this final                  defense articles controlled in USML                    carriers, slides, or sears that are
                                          rule. This change from the proposed                     Category I and are described in the                    common to semi-automatic and
                                          rule is necessary to allow for the                      purchase documentation submitted with                  automatic firearms on the civilian
                                          designation of the end-item defense                     the license application.                               market. The commenter noted that the
                                          articles in paragraph (c) as Significant                   The text of the note to Category I is               lack of clarity arises from the difference
                                          Military Equipment (SME) whereas the                    removed and replaced with a note                       between the control text in USML
                                          specially designed parts and                            containing a slightly revised                          Category I(g) and Note 1 to Category I in
                                          components therefor are not. Paragraph                  interpretation of the term ‘‘firearm,’’                the proposed rule. The commenter also
                                          (d) covers fully automatic shotguns.                    (formerly included at (j)(1)) and to add               requested clarification about which
                                          Paragraph (e) continues to cover                        interpretations of the terms ‘‘fully                   specially designed articles are
                                          silencers, mufflers, and sound                          automatic’’ and ‘‘caseless ammunition.’’               controlled under this paragraph. The
                                          suppressors. However, for the same                         Several commenters requested                        commenter’s concerns can be resolved
                                          reason as paragraph (c) above, specially                clarification regarding the proposed                   by applying the definition of ‘‘specially
                                          designed parts and components for                       Note 1 to USML Category I. The                         designed’’ in ITAR § 120.41(b)(3), as any
                                          those defense articles in paragraph (e)                 Department determined that the control                 article that is common to a non-
                                          are moved to paragraph (h) so as not to                 text of the category sufficiently                      automatic or semiautomatic firearm that
                                          be designated SME. Flash suppressors                    describes the defense articles to be                   is on the CCL (i.e., not on the USML) is
                                          are removed from paragraph (e) and are                  controlled, and, as a result, the final rule           not specially designed and thus is not
                                          transferred to the CCL. The text of                     removes the proposed Note 1 to                         subject to the ITAR (but is subject to the
                                          paragraph (f) is removed and the                        Category I in order to avoid possible                  EAR).
                                          subsection is reserved, thereby                         confusion.                                                One commenter suggested amending
                                          removing as a controlled item                              One commenter recommended                           the Canadian exemptions located in
                                          ‘‘[r]iflescopes manufactured to military                changes to the text of paragraph (b) in                ITAR § 126.5 to allow exports of
                                          specifications.’’ However, any firearms                 an effort to avoid potential overlap with              receivers and breech mechanisms under
                                          sighting device (including riflescopes)                 other paragraphs in the category. The                  paragraph (g). The Department is not
                                          that fits within the controls in USML                   Department believes these changes are                  revising Supplement No. 1 to ITAR
                                          Category XII (see e.g., XII(c)(2) regarding             unnecessary because the control text                   § 126 or the provisions of the Canadian
                                          night vison or infrared capabilities)                   adequately differentiates the controlled               exemptions through this rulemaking.
                                          remains subject to the ITAR under that                  defense articles to allow for self-                    However, the Department is currently
                                          category. Other riflescopes are                         determination. If an exporter or                       undertaking a review of Supplement No.
                                          transferred to the CCL. Paragraph (g)                   manufacturer requires a definitive                     1 to ITAR Part 126 and any changes will
                                          continues to cover barrels, receivers                   determination of category, they may                    be the subject of a separate rulemaking.
                                          (frames), bolts, bolt carriers, slides, or              submit a commodity jurisdiction request                   Multiple commenters suggested that
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                                          sears, specially designed for the firearms              to DDTC.                                               paragraph (h)(1) under this rule should
                                          that remain in Category I. Paragraph (h)                   Several commenters expressed                        exclude high-capacity magazines, i.e.,
                                          covers high capacity (greater than 50                   concern about the designation of certain               drums or magazines for firearms with a
                                          rounds) magazines, and parts and                        parts and components in USML                           capacity of greater than 50 rounds. The
                                          components to convert a semi-automatic                  Category I as SME. The Department                      Department recognizes that civilians can
                                          firearm into a fully automatic firearm,                 recognizes these concerns, and, in                     purchase magazines and drums with a


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                                          capacity of greater than 50 rounds;                     programming ammunition are                                One commenter pointed out that U.S
                                          however, these high-capacity magazines                  controlled on the USML. Where                          law classifies firearms as antique if they
                                          provide an inherently military function                 necessary, paragraphs are renumbered                   were made on or before 1898 and took
                                          and warrant continued control on the                    to accommodate movement of proposed                    issue with the usage of the year 1890 in
                                          USML due to their utility in enabling                   paragraphs (j)(10) and (9) and the                     Note 1 to paragraph (a). The Gun
                                          effective use of automatic weapons and                  addition of new paragraph (12). The                    Control Act of 1968 does define antique
                                          combat tactics.                                         Note to proposed paragraph (j)(9) is also              firearms for domestic purposes, in part,
                                             One commenter requested                              revised from the proposed rule to                      as any firearm manufactured in or
                                          clarification regarding paragraph (h)(3)                include reference to mounts for surface                before 1898. See 18 U.S.C. 921(a)(16)(A).
                                          in order to differentiate the terms                     vessels and special naval equipment                    However, as this rule is regarding the
                                          ‘‘automatic targeting’’ and ‘‘automatic                 controlled in Category VI.                             export of firearms, it uses the year 1890
                                          tracking’’ or ‘‘automatic firing.’’                        Amended paragraph (a) enumerates                    in order for the United States to remain
                                          However, the comment did not identify                   the items controlled in that paragraph.                consistent with its international export
                                          any specific confusion. The Department                  The item formerly covered in paragraph                 control commitments under the
                                          believes that the control text                          (c) (i.e., apparatus and devices for                   Wassenaar Arrangement, which uses
                                          appropriately describes the capabilities                launching or delivering ordnance) is                   1890 as the cutoff year to identify many
                                          that warrant control, so the final rule                 removed, and defense articles still                    firearms and armaments that are not on
                                          does not make any changes to this                       warranting control on the ITAR are                     the control list.
                                          provision.                                              described in new paragraph (a)(4). A                      One commenter requested
                                             One commenter noted that the                         new paragraph (a)(5) is added for                      clarification regarding what is
                                          technical data and defense service                      developmental guns and armaments                       considered to be part of the firing
                                          control in paragraph (i) did not apply to               funded by the Department of Defense                    mechanisms listed in paragraph (j)(4)
                                          USML Category I(c) and suggested that                   and the specially designed parts and                   and inquired whether the rule controls
                                          the Department include paragraph (c) in                 components of those items. The item                    electronic firing mechanisms. The
                                          the list of paragraphs to which the                     formerly controlled in paragraph (f),                  language in the rule appropriately
                                          technical data and defense service                      (i.e., engines specifically designed or                describes the capabilities that warrant
                                          controls applies. This was an oversight                 modified for the self-propelled guns and               control and confirms that the control
                                          and final rule paragraph (i) is revised to              howitzers controlled in paragraph (a)),                does include electronic firing
                                          exclude the paragraph identifiers in the                is removed from the USML and placed                    mechanisms.
                                          proposed rule. Excluding the paragraph                  on the CCL in ECCN 0A606 pursuant to                      One commenter requested a note be
                                          identifiers clarifies that technical data               the companion rule. Tooling and                        added to proposed paragraph (j)(9) (final
                                          and defense services for all USML                       equipment specifically designed or                     paragraph (j)(10)) to clarify what
                                          Category I articles are controlled.                     modified for the production of items                   constitutes an independently powered
                                                                                                  controlled in USML Category II,                        ammunition handling system and
                                          Revision of Category II
                                                                                                  formerly in paragraph (g), is also                     platform interface components. The
                                             This final rule revises USML Category                removed from the USML and transferred                  control text appropriately describes the
                                          II, covering guns and armament,                         to the CCL in ECCN 0B602 through the                   capabilities of concern that warrant
                                          establishing a bright line between the                  Commerce rule. Test and evaluation                     control and confirms that an
                                          USML and the CCL for the control of                     equipment and test models, formerly in                 independently-powered ammunition
                                          these articles.                                         paragraph (h), is removed from the                     handling system need not be external to
                                             Most significantly, amended                          USML and transferred to the CCL in                     the gun or platform for the control to
                                          paragraph (j), controlling parts and                    ECCN 0B602 through the Commerce                        apply.
                                          components, is revised to enumerate the                 rule. Certain autoloading systems                         One commenter expressed concern
                                          items controlled therein. In a change                   formerly controlled in paragraph (i) are               that proposed paragraphs (j)(9) and
                                          from the proposed rule explained                        moved to paragraphs (j)(9) and                         (j)(11) (final paragraphs (j)(10) and (j)(9),
                                          below, proposed paragraph (j)(10) is                    components therefor to (j)(10)                         respectively) may capture the same
                                          revised to clarify that the control applies             (paragraph (j)(11) of the proposed rule).              parts and components and
                                          only to recoil systems specially                        In a change from the proposed rule                     recommended deleting proposed
                                          designed to mitigate the shock                          explained below, final paragraph (j)(11)               paragraph (j)(11) if the paragraphs are
                                          associated with the firing process of                   now contains a specific reference to                   redundant. These paragraphs are
                                          guns integrated into air platforms. When                ‘‘ammunition feeder systems.’’                         distinct, as proposed (j)(9) identifies
                                          reviewing proposed paragraph (j) for                       This rule adds a new (x) paragraph to               certain components for the end-item
                                          this final rule, the Department noted                   USML Category II, allowing ITAR                        ammunition handling system that are
                                          that proposed paragraphs (10) and (13)                  licensing for all commodities, software,               controlled and proposed (j)(11) controls
                                          described related defense articles, as did              and technology subject to the EAR,                     the end-item independent ammunition
                                          proposed paragraphs (j)(9) and (j)(11). In              provided those commodities, software,                  handling system itself. Because these
                                          order to keep related articles in                       and technology are to be used in or with               paragraphs are not redundant, the final
                                          consecutive paragraphs within the                       defense articles controlled in USML                    rule retains both of them. The
                                          category, the Department reorganized                    Category II and are described in the                   Department revised proposed paragraph
                                          the paragraphs such that the control text               purchase documentation submitted with                  (j)(11) (final paragraph (j)(9)) to clarify
                                          of paragraph (10) of the proposed rule                  the application.                                       its scope in response to this comment.
                                          is found at paragraph (14) of the final                    One commenter recommended                              Proposed paragraph (j)(10) (final
                                          rule and the control text of paragraphs                 defining the term ‘‘gun’’ as it is used in             paragraph (j)(14)) is revised in this final
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                                          (9) and (11) of the proposed rule are                   both the category title and in paragraph               rule with language limiting recoil
                                          found at paragraphs (10) and (9) of the                 (a)(1). The control text in the proposed               systems to those specially designed to
                                          final rule, respectively. In addition, a                rule appropriately described the                       mitigate the shock associated with the
                                          new paragraph (12) is added to (j) to                   capabilities that warrant control, and so              firing process of guns integrated into air
                                          clarify that systems and equipment for                  the final rule does not make any                       platforms. This revision was made in
                                          the defense articles in the category for                changes in this regard.                                response to a commenter who


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                                          highlighted that the language in the                    ammunition for automatic and                           developmental defense articles funded
                                          proposed rule would have controlled                     superposed (or stacked) guns and                       by the Department of Defense (DoD).
                                          recoil systems solely due to end-use                    firearms is revised to clarify the control             The Department agrees, and the final
                                          platform and not due to the performance                 text. A new paragraph (a)(10) is added                 rule revises the category in order to
                                          capability.                                             for developmental ammunition funded                    clarify that DoD-funded developmental
                                             One commenter suggested that the                     by the Department of Defense and the                   ammunition is not SME. In particular,
                                          Department reconcile proposed                           parts and components specially                         the final rule adds a specific SME
                                          paragraphs (j)(10) and (j)(13) (final                   designed for such developmental                        identifier to each relevant subcategory
                                          paragraphs (j)(14) and (j)(13),                         ammunition. In a change from the                       and removes one from paragraph (a)(10).
                                          respectively) to prevent an overlap in                  proposed rule, the SME designator is                      One commenter suggested removing
                                          the control text. Proposed (j)(10) and                  moved from paragraph (a) in its entirety               paragraph (a)(2) on the grounds that the
                                          (j)(13) are adequately differentiated to                to only those paragraphs of III(a)                     underlying commodity does not
                                          allow for self-determination. If an                     warranting control as SME and the SME                  fundamentally change when it is
                                          exporter or manufacturer requires a                     designation is removed from paragraph                  incorporated into an ammunition link.
                                          definitive determination of category,                   (a)(10), to be consistent with the                     The control appropriately identifies the
                                          they may submit a commodity                             controls on developmental defense                      object that warrants control (linked or
                                          jurisdiction request to DDTC.                           articles funded by the Department of                   belted ammunition) which are used
                                             One commenter submitted a question                   Defense in other categories of the                     primarily for automatic weapons.
                                          about whether specific ammunition                       USML. Ammunition formerly controlled                   Consequently, the final rule makes no
                                          containers that are independent of a                    in paragraph (a) that is not now                       changes to the text of paragraph (a)(2).
                                          cannon system would be controlled                       specifically enumerated in paragraph (a)                  One commenter suggested revising
                                          under the proposed paragraph (j)(12)                    or captured by paragraph (a)(10) is                    proposed paragraph (a)(4) to remove the
                                          (final paragraph (j)(11)). Although                     transferred to the CCL pursuant to the                 language ‘‘manufactured with smokeless
                                          absent a commodity jurisdiction request                 companion rule. Likewise, revised                      powder’’ on the grounds that the rule
                                          the Department cannot make a                            paragraph (d), which controls parts and                could be interpreted to mean caseless
                                          definitive determination, it is unlikely                components, enumerates the items it                    ammunition manufactured with
                                          that the ammunition container is                        controls; those parts and components                   anything besides smokeless powder,
                                          controlled because proposed paragraph                   previously captured via the catch-all                  which is controlled on the CCL. The
                                          (j)(12) requires that the ammunition                    and not now enumerated are transferred                 Department disagrees because the
                                          container be specially designed for the                 to the CCL.                                            control text accurately describes the
                                          gun or armament, not for the                               Additionally, paragraph (c) is                      defense article to be controlled. Caseless
                                          ammunition. The control text                            removed and placed into reserve. The                   ammunition that is not manufactured
                                          appropriately describes the capabilities                production equipment and tooling                       with smokeless powder is not controlled
                                          that warrant control, and so the final                  formerly controlled in that paragraph is               by the subcategory. The Department
                                          rule does not make any changes to this                  now controlled by the CCL pursuant to                  controls ammunition in paragraph (a)(4)
                                          provision.                                              the companion rule.                                    because smokeless powder has higher
                                             One commenter also recommended                          In a change from the proposed rule,                 energy than other propellants and is
                                          adding clarifying language to proposed                  the references to steel tipped                         more readily adapted to a sustained fire.
                                          paragraph (j)(12) (final paragraph (j)(11))             ammunition, and hardened core or solid                    One commenter suggested removing
                                          regarding whether ‘‘conveyor elements’’                 projectiles made of tungsten, steel, or                the articles under paragraphs (a)(5) and
                                          are intended to relate to large caliber                 beryllium copper alloys are moved from                 (a)(8) and transferring them to the CCL.
                                          ammunition or medium caliber                            (d)(1) to paragraph (d)(6) for additional              The Department disagrees, as
                                          ammunition. As the control is not                       clarity.                                               lightweight and railgun ammunition
                                          limited, it applies to all such systems.                   This rule adds a new (x) paragraph to               offer a significant military advantage
                                          To clarify the scope of the control, the                USML Category III, allowing ITAR                       because lightweight ammunition
                                          Department adds ‘‘ammunition feeder                     licensing for all commodities, software,               significantly improves battlefield
                                          systems’’ to the text of final paragraph                and technology subject to the EAR,                     activities and railguns are a uniquely
                                          (j)(11).                                                provided those commodities, software,                  military capability in which the United
                                                                                                  and technology are to be used in or with               States enjoys a critical advantage, in
                                          Revision of Category III                                defense articles controlled in USML                    part due to our projectiles, and therefore
                                             This final rule renames Category III as              Category III and are described in the                  warrant control on the USML.
                                          ‘‘USML Category III—Ammunition and                      purchase documentation submitted with                     One commenter recommended
                                          Ordnance’’ (formerly ‘‘Category III—                    the application.                                       revising paragraph (a)(6) to address the
                                          Ammunition/Ordnance’’) and revises its                     In addition, in this final rule, DDTC               potential redundancy with (a)(1) and to
                                          content to establish a bright line                      revised the format of the notes to                     clarify whether the ammunition control
                                          between the USML and the CCL for the                    Category III from the proposed rule in                 parameters in the paragraph are based
                                          control of these articles and to be                     order to make them consistent with                     on the pyrotechnic material, the tracer
                                          consistent with the changes to Category                 concluding notes to other categories                   materials, or the specification that it
                                          I.                                                      (see, e.g., notes to Category VII). In place           must be able to be seen by night vision
                                             Most significantly, paragraphs (a) and               of three notes within one heading of                   optical systems. While it is possible that
                                          (d) are revised to remove broad catch-                  ‘‘Notes to Category III’’ as in the                    there may be some overlap between
                                          alls and enumerate the articles                         proposed rule, this final rule identifies              these controls for specific articles, each
                                          controlled therein. For example,                        each clearly as Note 1, Note 2, and Note               control correctly identifies a capability
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                                          paragraph (a), which controls                           3.                                                     that warrants control on the USML. To
                                          ammunition for articles in USML                            One commenter highlighted that the                  clarify the control text, the Department
                                          Categories I and II, is amended to                      placement of the asterisk beside                       replaces the word ‘‘and’’ in paragraph
                                          specifically list the ammunition that it                paragraph (a) in the proposed rule                     (a)(6) of the proposed rule with ‘‘or’’ in
                                          controls. In a change from the proposed                 created inconsistencies with other                     this final rule to identify that these are
                                          rule, paragraph (a)(7) regarding                        USML category provisions concerning                    separate articles. If an exporter or


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                                          manufacturer requires a definitive                      the basis that the language adds                       the subsections reserved as a
                                          determination of category, they may                     duplicative controls on parts that are                 consequence of the removal from the
                                          submit a commodity jurisdiction                         also subject to the controlled parts in                USML of non-automatic and semi-
                                          determination request to DDTC.                          paragraphs (d)(7) and (d)(11). The                     automatic firearms and their transfer to
                                             One commenter highlighted that                       Department believes that the paragraphs                the CCL. Section 123.17 is renamed
                                          paragraph (a)(7) in the proposed rule                   are not duplicative and the language                   ‘‘Exemption for personal protective
                                          could be interpreted to cover all                       appropriately describes the capabilities               gear’’ (formerly ‘‘Exports of firearms,
                                          ammunition for fully automatic                          that warrant control, so the final rule                ammunition, and personal protective
                                          firearms, which could take ammunition                   does not make any changes to this                      gear’’) to accurately reflect the articles
                                          currently controlled by the Department                  provision.                                             permitted for export without a license
                                          of Commerce and change it into SME if                      One commenter recommended adding                    by that section. Sections 123.16(b)(2)
                                          for use in a fully automatic firearm. The               language to paragraph (d)(6) in the                    and (6) are amended to make
                                          Department notes this concern and has                   proposed rule to clarify whether the                   conforming changes to reflect the
                                          revised the control to limit the scope of               paragraph is intended to capture all                   removal of the § 123.17 firearms
                                          the control to ammunition that is not                   armor piercing rounds. The Department                  exemptions, as is the policy guidance on
                                          used with semi or non-automatic                         did not adopt this recommendation, as                  Zimbabwe found at § 126.1(s). The text
                                          firearms (i.e., firearms not on the                     the control text adopted in this rule                  of § 123.18 is removed, as it described
                                          USML).                                                  provides objective criteria that more                  exemptions for firearms that are now
                                             One commenter suggested changing                     effectively identifies the ammunition                  controlled for export by the Department
                                          the description of ‘‘primers’’ in                       types that warrant control on the USML.                of Commerce, and the section placed
                                          paragraph (d)(10) to ‘‘cap type primers’’                  Multiple commenters recommend                       into reserve. The text of § 123.16(b)(7)
                                          on the grounds that the provision as                    revising paragraph (d)(7). One                         referencing the removed § 123.18
                                          written is overly broad. The Department                 commenter suggested adding ‘‘specially                 exemption is also removed and the
                                          disagrees, as the final rule appropriately              designed for items controlled in USML                  subsection placed in reserve. In
                                          reflects the primers that warrant control               Category II’’ to ensure that articles                  addition, § 124.14(c)(9) is amended to
                                          on the USML. The final rule does not                    common to those used with non-USML                     remove the example of ‘‘sporting
                                          make any changes to this provision.                     items are not described. The Department                firearms for commercial resale.’’
                                             One commenter assessed that certain                  agrees and made this change.                              Section 129.1(b) of the ITAR is
                                          production equipment previously                            One commenter suggested modifying                   amended to clarify that the regulations
                                          controlled on the USML would not be                     the wording in paragraph (d)(11) to                    on brokering activities in part 129 apply
                                          captured by the revised USML Category                   capture all artillery and ammunition                   to those defense articles and defense
                                          III or by the corresponding Department                  fuses and to delete ‘‘specially designed               services designated as such on the
                                          of Commerce rule. The Department of                     parts therefor’’ to align with bomb                    USML and those items described on the
                                          Commerce’s companion rule to this                       fusing wording in Category IV(h)(25).                  USMIL (27 CFR 447.21). Section 129.4
                                          final rule expands the relevant ECCNs                   The control correctly identifies a                     of the ITAR is also amended to clarify
                                          0B505.a as a control for all production                 capability warranting control on the                   brokering requirements for items on the
                                          equipment specially designed for USML                   USML; fuses and arming and safing                      USMIL that are subject to the brokering
                                          Category III, and 0B501.e, for all                      devices for Category III articles cover a              requirements of the AECA. The articles
                                          production equipment specially                          wider range of sensitive devices that                  that are transferred to the CCL for export
                                          designed for USML Category I.                           provide the United States with a critical              control purposes, yet are on the USMIL
                                             One commenter expressed concern                      military advantage, separate and apart                 for permanent import control purposes,
                                          that paragraph (d)(1) appears to overlap                from the control in Category IV(h)(25),                remain subject to the brokering
                                          with the control text in paragraphs (a)(1)              for fuses specific to that category, so the            requirements of part 129 with respect to
                                          and (6) and (d)(2) and (6). While it is                 Department is not implementing any                     all brokering activities, including
                                          possible that there may be some overlap                 change to paragraph (d)(11).                           facilitation in their manufacture abroad,
                                          between these controls for specific                        One commenter noted that paragraph                  permanent import, transfer, reexport, or
                                          articles, each correctly identifies a                   (e) controls technical data and defense                retransfer. In a change from the
                                          capability that warrants control on the                 services directly related to the defense               proposed rule, this final rule revises
                                          USML. To add additional clarity, the                    articles controlled in paragraphs (a), (b),            slightly the proposed language of
                                          Department is removing the reference to                 and (d) and that technical data and                    § 129.2(b)(2)(vii), renumbers it as (viii),
                                          steel tipped and core or solid projectiles              defense services in these areas would                  and adds a new paragraph (b)(2)(vii) to
                                          made from tungsten, steel, or beryllium                 not be controlled on the USML as they                  that section, in order to definitively
                                          copper alloys, and addressing those                     are already in the public domain.                      exclude from the definition of brokering
                                          fully in (d)(6). If an exporter or                      Information that is in the public domain               activities certain domestic activities
                                          manufacturer requires a definitive                      (see ITAR § 120.11), is not controlled;                related to the manufacture of EAR
                                          determination of category, they may                     however, defense services remain                       controlled items and their export. The
                                          submit a commodity jurisdiction                         controlled, as would any controlled                    revisions to § 129.4 also clarify that
                                          determination request to DDTC.                          technical data.                                        foreign defense articles that are on the
                                             One commenter suggested deleting                                                                            USMIL require brokering authorizations.
                                          the word ‘‘tracer’’ from paragraph (d)(2)               Conforming ITAR Changes                                   One commenter asserted that this
                                          on the grounds that that would make the                    Additionally, this final rule makes                 rule’s revisions to § 123.15 will
                                          provision consistent with (d)(1).                       conforming changes to several sections                 unnecessarily expand congressional
                                          Because certain tracer shotgun shells are               of the ITAR that referred to the control               notification requirements to parts,
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                                          non-pyrotechnic and warrant control on                  of articles formerly in USML Category                  components, and accessories under
                                          the USML, no change is made in this                     I(a). These sections are amended                       Categories I(e) and I(g). The commenter
                                          final rule.                                             because they all refer to firearms that are            recommended that § 123.15 be revised
                                             One commenter suggested deleting                     now controlled on the CCL. The                         to limit the notification requirements to
                                          ‘‘specially designed parts and                          firearms exemptions formerly at                        ‘‘USML Category I paragraphs (a)
                                          components’’ from paragraph (d)(4) on                   § 123.17(a) through (e) are removed and                through (d).’’ Contrary to the


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                                          commenter’s assertion, this rule does                   the USML. Regarding enforcement, the                   brokering activities definition. The
                                          not extend congressional notification                   Department retains its civil enforcement               commenter also requested clarification
                                          requirements to parts, components, and                  capacity for violations of the ITAR,                   regarding whether the language was
                                          accessories. Department practice is, and                including all articles subject to the                  intended to convey that any ITAR or
                                          has been, to notify Congress of the                     brokering regulations, and the                         EAR approval for the items in question
                                          proposed exports of all Category I(e) and               Department of Commerce retains its                     is sufficient to meet this criteria and that
                                          (g) articles that meet the threshold value              civil enforcement authority over items                 the approvals do not have to list the
                                          requirement of $1,000,000.                              subject to its jurisdiction. Additionally,             specific consignees or end-users for the
                                             One commenter expressed concern                      the Department of Justice retains the                  future export, reexport, or transfer. The
                                          that the proposed rule’s removal and                    ability under separate authorities to                  Department confirms that new
                                          placement of ITAR § 123.16(b)(7) in                     prosecute persons criminally for                       provisions in § 129.2(b)(2)(vii) and (viii)
                                          reserve could potentially affect the                    violations involving firearms on the CCL               apply to all items subject to the EAR,
                                          exemption at ITAR § 123.18 regarding                    or for brokering violations under the                  not just those that transitioned from
                                          firearms for personal use by civilian and               AECA.                                                  USML Categories I, II or III, to the extent
                                          active duty members of the U.S. Armed                      One commenter expressed concern                     that other items subject to the EAR are
                                          Forces. The Department notes in                         that this rule will create a double                    also included on the USMIL. These
                                          response that amendatory instruction                    licensing requirement because the scope                provisions also clarify the use of the
                                          number 5 of the proposed rule directed                  of ‘‘brokering activities’’ requiring                  NLR designation and revise the scope of
                                          the removal and reserving of paragraph                  registration, fee payments, and licensing              the exclusion from brokering activities
                                          (b)(7) of § 123.16. In order to eliminate               under ITAR part 129 includes many                      to include those activities that are
                                          any confusion regarding this action, the                types of activities that occur before the              controlled by the Department of
                                          final rule includes exemplary text                      Department of Commerce will issue a                    Commerce.
                                          showing the subsection as reserved.                     license. The Department does not intend
                                             Several commenters suggested raising                 to impose a double licensing                           Regulatory Analysis and Notices
                                          the value of the low value shipment                     requirement for individuals undertaking                Administrative Procedure Act
                                          exemption in ITAR § 123.17(a) from                      activities on behalf of another to                        The Department of State is of the
                                          $100 to $500 because although the rule’s                facilitate a transaction that will require             opinion that controlling the import and
                                          changes increase the eligible amount,                   licensing by the Department of                         export of defense articles and services is
                                          they then reduce it by shifting the                     Commerce. Therefore, the Department is                 a military or foreign affairs function of
                                          definition of value from wholesale to                   revising the proposed § 129.2(b)(2)(vii)               the United States government and that
                                          selling price. The Department                           and adding a new (b)(2)(viii) to clarify               rules implementing this function are
                                          appreciates this suggestion, but notes in               that activities to facilitate the domestic             exempt from sections 553 (rulemaking)
                                          response that amendatory instruction 6                  manufacture or export of items subject                 and 554 (adjudications) of the
                                          of the proposed and final rules directs                 to the EAR are not brokering under the                 Administrative Procedure Act (APA).
                                          the removal of ITAR § 123.17(a).                        ITAR and do not require authorization                  Although the Department is of the
                                             One commenter noted that the current                 or registration.                                       opinion that this final rule is exempt
                                          language in ITAR § 125.4(b)(6) refers to                   One commenter requested
                                                                                                                                                         from the rulemaking provisions of the
                                          ‘‘. . . firearms not in excess of caliber               clarification regarding whether
                                                                                                                                                         APA, the Department published this
                                          .50 and ammunition for such weapons                     ‘‘brokering activities’’ as defined in
                                                                                                                                                         rule as a proposed rule (83 FR 24198)
                                          . . .’’ and suggested a review to ensure                § 129.2(b)(2) apply to activities to
                                                                                                                                                         with a 45-day provision for public
                                          consistency with language in other areas                facilitate the manufacture, export,
                                                                                                                                                         comment and without prejudice to its
                                          of the ITAR. The Department                             permanent import, transfer, reexport, or
                                                                                                                                                         determination that controlling the
                                          appreciates the commenter’s suggestion                  retransfer of items designated on the
                                                                                                                                                         import and export of defense services is
                                          and directs the commenter’s attention to                USMIL. The Department directs the
                                                                                                                                                         a foreign affairs function.
                                          the Note to Category I of the final rule,               commenter to the preambles of the
                                          paragraph (1), which uses a similar                     proposed rule and this final rule, which               Regulatory Flexibility Act
                                          description to the one in ITAR                          state the regulations in part 129 apply                   Since the Department is of the
                                          § 125.4(b)(6) and which has been                        to both USML and USMIL defense                         opinion that this final rule is exempt
                                          present since the 2003 CFR. The                         articles and defense services.                         from the rulemaking provisions of 5
                                          Department believes the regulated                          One commenter requested                             U.S.C. 553, it does not require analysis
                                          community clearly understands caliber                   clarification regarding whether the                    under the Regulatory Flexibility Act.
                                          demarcation and declines to make                        proposed rule’s revision to
                                          changes at this time. The Department                    § 129.2(b)(2)(vii) would apply not only                Unfunded Mandates Reform Act of 1995
                                          notes the commenter’s concern for                       to items currently controlled in USML                    This amendment does not involve a
                                          future consideration.                                   Categories I, II, and III, or to all items             mandate that will result in the
                                             Multiple commenters expressed                        on the USMIL that are currently subject                expenditure by State, local, and tribal
                                          concerns that this rule would remove                    to the EAR (i.e., to include 600 series                governments, in the aggregate, or by the
                                          license requirements for brokers, or                    items previously transferred to the                    private sector, of $100 million or more
                                          potentially relinquish enforcement                      EAR). The commenter also                               in any year and it will not significantly
                                          authority over brokers. The Department                  recommended specifying whether the                     or uniquely affect small governments.
                                          asserts that this rule makes no changes                 paragraph (b)(2)(vii) exclusion would                  Therefore, no actions were deemed
                                          to the statutory requirements for the                   apply to activities related to exports,                necessary under the provisions of the
                                          registration and licensing of brokers,                  reexports, or transfers of an items                    Unfunded Mandates Reform Act of
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                                          which remain the same under section                     subject to the EAR that does not require               1995.
                                          38(b)(1)(A)(ii) of the AECA (see 28                     use of an EAR license or license
                                          U.S.C. 2778) and are implemented                        exception (i.e., No License Required                   Small Business Regulatory Enforcement
                                          through ITAR part 129, which will                       (NLR)). The commenter assessed that                    Fairness Act of 1996
                                          continue to apply to all firearms listed                the language at (b)(2)(vii) appears to                   This rulemaking has been found not
                                          on the USMIL in addition to those on                    provide a broad carve-out to the                       to be a major rule within the meaning


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                                          of the Small Business Regulatory                        Commerce collects the information                      Estimated Cost Savings
                                          Enforcement Fairness Act of 1996.                       necessary to process license                              The Department of State is of the
                                                                                                  applications under OMB Control No.                     opinion that controlling the import and
                                          Executive Orders 12372 and 13132
                                                                                                  0694–0088. The Department of                           export of defense articles and services is
                                             This rulemaking will not have                        Commerce estimates that each manual                    a foreign affairs function of the United
                                          substantial direct effects on the States,               or electronic response to that                         States government and that rules
                                          on the relationship between the national                information collection takes                           implementing this function are exempt
                                          government and the States, or on the                    approximately 43.8 minutes. The                        from Executive Order 13771 (82 FR
                                          distribution of power and                               Department of Commerce estimates that                  9339, February 3, 2017). Although the
                                          responsibilities among the various                      the 6,000 licenses constitute a burden of              Department is of the opinion that this
                                          levels of government. Therefore, in                     4,380 hours for this collection.                       final rule is exempt from E.O. 13771 and
                                          accordance with Executive Order 13132,                     The Department estimates a reduction                without prejudice to its determination
                                          it is determined that this rulemaking                   in burden of 10,000 hours due to the                   that controlling the import and export of
                                          does not have sufficient federalism                     transition of these items to the                       defense services is a foreign affairs
                                          implications to require consultations or                Department of Commerce. The                            function, this rule is an E.O. 13771
                                          warrant the preparation of a federalism                 Department of Commerce estimates that                  deregulatory action. The Department
                                          summary impact statement. The                           the burden of submitting license                       has conducted this analysis in close
                                          regulations implementing Executive                      applications for these items to the                    consultation with the Department of
                                          Order 12372 regarding                                   Department of Commerce is 4,380                        Commerce.
                                          intergovernmental consultation on                       burden hours. Therefore, the net burden                   The total cost savings will be
                                          Federal programs and activities do not                  is reduced by 5,620 hours. The                         $1,376,281 in present (2017) dollars. To
                                          apply to this rulemaking.                               Department estimates that the burden                   allow for cost comparisons under E.O.
                                          Executive Orders 12866 and 13563                        hour cost for completing a license                     13771, the value of these costs savings
                                                                                                  application is $44.94 per hour.                        in 2016 dollars is $1,353,574. Assuming
                                             Executive Orders 12866 and 13563                     Therefore, the estimated net reduction
                                          direct agencies to assess all costs and                                                                        a 7% discount rate, the present value of
                                                                                                  of 5,620 burden hours per year is                      these cost savings in perpetuity is
                                          benefits of available regulatory                        estimated to result in annual burden
                                          alternatives and, if regulation is                                                                             $19,336,771. Since the costs savings of
                                                                                                  hour cost reduction of $252,562.80.                    this rule are expected to be permanent
                                          necessary, to select regulatory                            In addition to the reduction in burden              and recurring, the annualized value of
                                          approaches that maximize net benefits                   hours, there are direct cost savings to                these cost savings is also $1,353,574 in
                                          (including potential economic,                          the State Department that result from                  2016 dollars.
                                          environmental, public health and safety                 the 10,000 license applications no
                                          effects, distributed impacts, and equity).              longer required under the ITAR for                     Executive Order 12988
                                          The Department believes that the                        items transferred to the EAR. Pursuant                    The Department of State reviewed this
                                          benefits of this rulemaking largely                     to the AECA, ITAR, and associated                      rulemaking in light of sections 3(a) and
                                          outweigh any costs, in that many items                  delegations of authority, every person                 3(b)(2) of Executive Order 12988 to
                                          currently controlled on the more-                       who engages in the business of                         eliminate ambiguity, minimize
                                          restrictive USML are being moved to the                 brokering activities, manufacturing,                   litigation, establish clear legal
                                          CCL.                                                    exporting, or temporarily importing any                standards, and reduce burden.
                                             Executive Order 13563 emphasizes                     defense articles or defense services must
                                          the importance of considering both                      register with the Department of State                  Executive Order 13175
                                          benefits and costs, both qualitative and                and pay a registration fee. The                          The Department of State determined
                                          quantitative, of harmonizing rules, and                 Department of State adopted the current                that this rulemaking will not have tribal
                                          of promoting flexibility. This rule has                 fee schedule to align the registration                 implications, will not impose
                                          been designated a ‘‘significant                         fees with the cost of licensing,                       substantial direct compliance costs on
                                          regulatory action,’’ although not                       compliance and other related activities.               Indian tribal governments, and will not
                                          economically significant, under section                 The Department of Commerce will incur                  preempt tribal law. Accordingly,
                                          3(f) of Executive Order 12866.                          additional costs to administer these                   Executive Order 13175 does not apply
                                          Accordingly, the rule has been reviewed                 controls and process license                           to this rulemaking.
                                          by the Office of Management and                         applications. However, the Department
                                          Budget (OMB).                                           of Commerce does not charge a                          Paperwork Reduction Act
                                             The Department believes the effect of                registration fee to exporters under the                  Notwithstanding any other provision
                                          this rule will decrease the number of                   EAR and we are unable to estimate the                  of law, no person is required to respond
                                          license applications submitted to the                   increase in costs to the Department of                 to, nor is subject to a penalty for failure
                                          Department under OMB Control No.                        Commerce to process the new license                    to comply with, a collection of
                                          1405–0003 by approximately 10,000                       applications. Therefore, we are unable                 information, subject to the requirements
                                          annually, for which the average burden                  to provide an estimate of the net change               of the Paperwork Reduction Act of 1995
                                          estimates are one hour per form, which                  in resource costs to the government                    (44 U.S.C. 3501 et seq.) (PRA), unless
                                          results in a burden reduction of 10,000                 from moving these items from the ITAR                  that collection of information displays a
                                          hours per year.                                         to the EAR. It is the case, however, that              currently valid OMB control number.
                                             The Department of Commerce                           the movement of these items from the                     The Department of State believes
                                          estimates that 4,000 of the 10,000                      ITAR will result in a direct transfer of               there will be a reduction in burden for
                                          licenses that were required by the                      $2,500,000 per year from the                           the following forms: OMB Control No.
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                                          Department are eligible for license                     government to the exporting public, less               1405–0003, Application/License for
                                          exceptions or otherwise not require a                   the increased cost to taxpayers, because               Permanent Export of Unclassified
                                          separate license under the EAR. The                     they will no longer pay fees to the State              Defense Articles and Related
                                          Department of Commerce estimates that                   Department and there is no fee charged                 Unclassified Technical Data; OMB
                                          6,000 transactions require an individual                by the Department of Commerce to                       control number 1405–0092, Application
                                          validated license. The Department of                    apply for a license.                                   for Amendment of a DSP–5 License;


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                                          OMB control number 1405–0013,                            Category I—Firearms and Related                          (1) A firearm is a weapon not over .50
                                          Application/License for Temporary                        Articles                                               caliber (12.7 mm) which is designed to
                                          Import of Unclassified Defense Articles;                    *(a) Firearms using caseless                        expel a projectile by the deflagration of
                                          OMB control number 1405–0092,                            ammunition.                                            propellant;
                                          Application for Amendment to a DSP–                         *(b) Fully automatic firearms to .50                  (2) A fully automatic firearm or
                                          61 License ; OMB control number 1405–                    caliber (12.7 mm) inclusive.                           shotgun is any firearm or shotgun that
                                          0023, Application/License for                               *(c) Firearms specially designed to                 shoots, is designed to shoot, or can
                                          Temporary Export of Unclassified                         integrate fire control, automatic                      readily be restored to shoot,
                                          Defense Articles; OMB control number                     tracking, or automatic firing (e.g.,                   automatically more than one shot,
                                          1405–0092, Application for Amendment                     Precision Guided Firearms).                            without manual reloading, by a single
                                          to a DSP–73 License ; OMB control                           Note 1 to paragraph (c): Integration                function of the trigger; and
                                          number 1405–0022, Application/                           does not include only attaching to the                   (3) Caseless ammunition is firearm
                                                                                                   firearm or rail.                                       ammunition without a cartridge case
                                          License for Permanent/Temporary
                                                                                                      *(d) Fully automatic shotguns                       that holds the primer, propellant, and
                                          Export or Temporary Import of
                                                                                                   regardless of gauge.                                   projectile together as a unit.
                                          Classified Defense Articles and Related
                                                                                                      *(e) Silencers, mufflers, and sound                 Category II—Guns and Armament
                                          Classified Technical Data; OMB control
                                                                                                   suppressors.
                                          number 1405–0174, Request for                               (f) [Reserved]                                         (a) Guns and armament greater than
                                          Advisory Opinion; and OMB control                           (g) Barrels, receivers (frames), bolts,             .50 caliber (12.7 mm), as follows:
                                          number 1405–0173, Request To Change                      bolt carriers, slides, or sears specially                 *(1) Guns, howitzers, artillery, and
                                          End User, End Use and/or Destination of                  designed for the articles in paragraphs                cannons;
                                          Hardware. This form is an application                    (a), (b), and (d) of this category.                       *(2) Mortars;
                                          that, when completed and approved by                        (h) Parts, components, accessories,                    *(3) Recoilless rifles;
                                          Department of State, constitutes the                     and attachments, as follows:                              *(4) Grenade launchers; or
                                          official record and authorization for the                   (1) Drum and other magazines for                       (5) Developmental guns and
                                          commercial export of unclassified U.S.                   firearms to .50 caliber (12.7 mm)                      armament greater than .50 caliber (12.7
                                          Munitions List articles and technical                    inclusive with a capacity greater than 50              mm) funded by the Department of
                                          data, pursuant to the AECA and ITAR.                     rounds, regardless of jurisdiction of the              Defense and specially designed parts
                                          For an analysis of the reduction in                      firearm, and specially designed parts                  and components therefor.
                                          burden for OMB Control No. 1405–0003,                    and components therefor;                                  Note 1 to paragraph (a)(5): This
                                          see the above Section for E.O. 12866.                       (2) Parts and components specially                  paragraph does not control guns and
                                                                                                   designed for conversion of a semi-                     armament greater than .50 caliber (12.7
                                            The proposed version of this rule                                                                             mm):
                                          referenced only the first of these forms.                automatic firearm to a fully automatic
                                                                                                   firearm;                                                  (a) in production;
                                          However, subsequent its release, the                                                                               (b) determined to be subject to the
                                                                                                      (3) Parts and components specially
                                          Department of State submitted the                        designed for defense articles described                EAR via a commodity jurisdiction
                                          remaining eight forms for public notice                  in paragraphs (c) and (e) of this                      determination (see § 120.4 of this
                                          via Federal Register Public Notice                       category; or                                           subchapter); or
                                          10646 on February 12, 2019. As such,                        (4) Accessories or attachments                         (c) identified in the relevant
                                          this final rule is being amended to                      specially designed to automatically                    Department of Defense contract or other
                                          reflect all nine forms associated with the               stabilize aim (other than gun rests) or for            funding authorization as being
                                          changes reflected in this rule.                          automatic targeting, and specially                     developed for both civil and military
                                                                                                   designed parts and components                          applications.
                                          List of Subjects in 22 CFR Parts 121,
                                                                                                   therefor.                                                 Note 2 to paragraph (a)(5): Note 1 to
                                          123, 124, 126, and 129
                                                                                                      (i) Technical data (see § 120.10 of this            pargraph (a)(5) does not apply to
                                              Arms and munitions, Exports.                         subchapter) and defense services (see                  defense articles enumerated on the U.S.
                                                                                                   § 120.9 of this subchapter) directly                   Munitions List, whether in production
                                            Accordingly, for the reasons set forth                 related to the defense articles described              or development.
                                          above, title 22, chapter I, subchapter M,                in this category and classified technical                 Note 3 to paragraph (a)(5): This
                                          parts 121, 123, 124, 126, and 129 are                    data directly related to items controlled              provision is applicable to those
                                          amended as follows:                                      in ECCNs 0A501, 0B501, 0D501, and                      contracts or other funding
                                                                                                   0E501 and defense services using the                   authorizations that are dated January 23,
                                          PART 121—THE UNITED STATES                               classified technical data. (See § 125.4 of             2021, or later.
                                          MUNITIONS LIST                                           this subchapter for exemptions.)                          Note 1 to paragraph (a): This
                                                                                                      (j)–(w) [Reserved]                                  paragraph does not include: Non-
                                          ■ 1. The authority citation for part 121                    (x) Commodities, software, and                      automatic and non-semi-automatic
                                          continues to read as follows:                            technology subject to the EAR (see                     rifles, carbines, and pistols between .50
                                            Authority: Secs. 2, 38, and 71, Pub. L. 90–            § 120.42 of this subchapter) used in or                (12.7 mm) and .72 caliber (18.288 mm)
                                          629, 90 Stat. 744 (22 U.S.C. 2752, 2778,                 with defense articles.                                 that are controlled on the CCL under
                                          2797); 22 U.S.C. 2651a; Pub. L. 105–261, 112                Note to paragraph (x): Use of this                  ECCN 0A501; shotguns controlled on
                                          Stat. 1920; Section 1261, Pub. L. 112–239;               paragraph is limited to license                        the CCL under ECCN 0A502; black
                                          E.O. 13637, 78 FR 16129.                                 applications for defense articles where                powder guns and armaments
                                                                                                   the purchase documentation includes                    manufactured between 1890 and 1919
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                                          ■  2. Section 121.1 is amended by                        commodities, software, or technology                   controlled on the CCL under ECCN
                                          revising U.S. Munitions List Categories                  subject to the EAR (see § 123.1(b) of this             0A602; or black powder guns and
                                          I, II, and III to read as follows:                       subchapter).                                           armaments manufactured earlier than
                                                                                                      Note 1 to Category I: The following                 1890.
                                          § 121.1    The United States Munitions List.             interpretations explain and amplify the                   Note 2 to paragraph (a): Guns and
                                          *      *      *       *      *                           terms used in this category:                           armament when integrated into their


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                                          carrier (e.g., surface vessels, ground                     (v) Hydro-pneumatic systems capable                 in ECCNs 0A602, 0B602, 0D602, and
                                          vehicles, or aircraft) are controlled in                of scavenging recoil energy to power                   0E602 and defense services using the
                                          the category associated with the carrier.               howitzer functions;                                    classified technical data. (See § 125.4 of
                                          Self-propelled guns and armament are                       Note 1 to paragraph (j)(10): For                    this subchapter for exemptions.)
                                          controlled in USML Category VII.                        weapons mounts specially designed for                    (l)–(w) [Reserved]
                                          Towed guns and armament and stand-                      surface vessels and special naval                        (x) Commodities, software, and
                                          alone guns and armament are controlled                  equipment, see Category VI. For                        technology subject to the EAR (see
                                          under this category.                                    weapons mounts specially designed for                  § 120.42 of this subchapter) used in or
                                             (b) Flamethrowers with an effective                  ground vehicles, see Category VII.                     with defense articles.
                                          range greater than or equal to 20 meters.                  (11) Ammunition containers/drums,                     Note to paragraph (x): Use of this
                                             (c) [Reserved]                                       ammunition chutes, ammunition                          paragraph is limited to license
                                             *(d) Kinetic energy weapon systems                   conveyor elements, ammunition feeder                   applications for defense articles where
                                          specially designed for destruction or                   systems, and ammunition container/                     the purchase documentation includes
                                          rendering mission-abort of a target.                    drum entrance and exit units, specially                commodities, software, or technology
                                             Note 1 to paragraph (d): Kinetic                     designed for the guns and armament                     subject to the EAR (see § 123.1(b) of this
                                          energy weapons systems include but are                  controlled in paragraphs (a), (b), and (d)             subchapter).
                                          not limited to launch systems and                       of this category;                                      Category III—Ammunition and
                                          subsystems capable of accelerating                         (12) Systems and equipment for the                  Ordnance
                                          masses larger than 0.1g to velocities in                guns and armament controlled in
                                          excess of 1.6 km/s, in single or rapid fire             paragraphs (a) and (d) of this category                   (a) Ammunition, as follows:
                                          modes, using methods such as:                                                                                     *(1) Ammunition that incorporates a
                                                                                                  for use in programming ammunition,
                                          Electromagnetic, electrothermal,                                                                               projectile controlled in paragraph (d)(1)
                                                                                                  and specially designed parts and
                                          plasma, light gas, or chemical. This does                                                                      or (3) of this category;
                                                                                                  components therefor;                                      *(2) Ammunition preassembled into
                                          not include launch systems and                             (13) Aircraft/gun interface units to
                                          subsystems used for research and testing                                                                       links or belts;
                                                                                                  support gun systems with a designed                       *(3) Shotgun ammunition that
                                          facilities subject to the EAR, which are                rate of fire greater than 100 rounds per
                                          controlled on the CCL under ECCN                                                                               incorporates a projectile controlled in
                                                                                                  minute and specially designed parts and                paragraph (d)(2) of this category;
                                          2B232.                                                  components therefor;
                                             (e) Signature reduction devices                                                                                *(4) Caseless ammunition
                                                                                                     (14) Recoil systems specially designed              manufactured with smokeless powder;
                                          specially designed for the guns and                     to mitigate the shock associated with the                 Note 1 to paragraph (a)(4): Caseless
                                          armament controlled in paragraphs (a),                  firing process of guns integrated into air             ammunition is ammunition without a
                                          (b), and (d) of this category (e.g., muzzle             platforms and specially designed parts                 cartridge case that holds the primer,
                                          flash suppression devices).                             and components therefor;                               propellant, and projectile together as a
                                             (f)–(i) [Reserved]                                      (15) Prime power generation, energy
                                             (j) Parts, components, accessories, and                                                                     unit.
                                                                                                  storage, thermal management,                              *(5) Ammunition, except shotgun
                                          attachments, as follows:                                conditioning, switching, and fuel-
                                             (1) Gun barrels, rails, tubes, and                                                                          ammunition, based on non-metallic
                                                                                                  handling equipment, and the electrical                 cases, or non-metallic cases that have
                                          receivers specially designed for the                    interfaces between the gun power
                                          weapons controlled in paragraphs (a)                                                                           only a metallic base, which result in a
                                                                                                  supply and other turret electric drive                 total cartridge mass 80% or less than the
                                          and (d) of this category;                               components specially designed for
                                             (2) Sights specially designed to orient                                                                     mass of a brass- or steel-cased cartridge
                                                                                                  kinetic weapons controlled in paragraph                that provides comparable ballistic
                                          indirect fire weapons;                                  (d) of this category;
                                             (3) Breech blocks for the weapons                                                                           performance;
                                                                                                     (16) Kinetic energy weapon target                      *(6) Ammunition employing
                                          controlled in paragraphs (a) and (d) of
                                                                                                  acquisition, tracking fire control, and                pyrotechnic material in the projectile
                                          this category;
                                                                                                  damage assessment systems and                          base or any ammunition employing a
                                             (4) Firing mechanisms for the
                                                                                                  specially designed parts and                           projectile that incorporates tracer
                                          weapons controlled in paragraphs (a)
                                                                                                  components therefor; or                                materials of any type having peak
                                          and (d) of this category and specially
                                                                                                     *(17) Any part, component, accessory,               radiance above 710 nm and designed to
                                          designed parts and components
                                                                                                  attachment, equipment, or system that:                 be observed primarily with night vision
                                          therefor;                                                  (i) Is classified;
                                             (5) Systems for firing superposed or                                                                        optical systems;
                                                                                                     (ii) Contains classified software; or                  *(7) Ammunition for fully automatic
                                          stacked ammunition and specially                           (iii) Is being developed using
                                          designed parts and components                                                                                  firearms that fire superposed or stacked
                                                                                                  classified information.                                projectiles or for guns that fire
                                          therefor;                                                  Note 1 to paragraph (j)(17):
                                             (6) Servo-electronic and hydraulic                                                                          superposed or stacked projectiles;
                                                                                                  ‘‘Classified’’ means classified pursuant                  *(8) Electromagnetic armament
                                          elevation adjustment mechanisms;                        to Executive Order 13526, or
                                             (7) Muzzle brakes;                                                                                          projectiles or billets for weapons with a
                                             (8) Bore evacuators;                                 predecessor order, and a security                      design muzzle energy exceeding 5 MJ;
                                             (9) Independent ammunition handling                  classification guide developed pursuant                   *(9) Ammunition, not specified
                                          systems for the guns and armament                       thereto or equivalent, or to the                       above, for the guns and armaments
                                          controlled in paragraphs (a), (b), and (d)              corresponding classification rules of                  controlled in Category II; or
                                          of this category;                                       another government or                                     (10) Developmental ammunition
                                             (10) Components for independently                    intergovernmental organization.                        funded by the Department of Defense
                                          powered ammunition handling systems                        (k) Technical data (see § 120.10 of this            and specially designed parts and
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                                          and platform interface, as follows:                     subchapter) and defense services (see                  components therefor.
                                             (i) Mounts;                                          § 120.9 of this subchapter) directly                      Note 1 to paragraph (a)(10): This
                                             (ii) Carriages;                                      related to the defense articles described              paragraph does not control ammunition:
                                             (iii) Gun pallets;                                   in paragraphs (a), (b), (d), (e), and (j) of              (a) in production;
                                             (iv) Hydro-pneumatic equilibration                   this category and classified technical                    (b) determined to be subject to the
                                          cylinders; or                                           data directly related to items controlled              EAR via a commodity jurisdiction


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                                          determination (see § 120.4 of this                         (10) Primers other than Boxer, Berdan,              rendered useless beyond the possibility
                                          subchapter); or                                         or shotshell types;                                    of restoration for use as a cartridge or
                                              (c) identified in the relevant                         Note 1 to paragraph (d)(10): This                   shell casing by means of heating, flame
                                          Department of Defense contract or other                 paragraph does not control caps or                     treatment, mangling, crushing, cutting,
                                          funding authorization as being                          primers of any type in use prior to 1890.              or popping.
                                          developed for both civil and military                      (11) Safing, arming, and fuzing                        Note 3 to Category III: Grenades
                                          applications.                                           components (to include target detection                containing non-lethal or less lethal
                                              Note 2 to paragraph (a)(10): Note 1                 and proximity sensing devices) for the                 projectiles are under the jurisdiction of
                                          does not apply to defense articles                      ammunition in this category and                        the Department of Commerce.
                                          enumerated on the U.S. Munitions List,                  specially designed parts therefor;                     *     *     *     *     *
                                          whether in production or development.                      (12) Guidance and control
                                              Note 3 to paragraph (a)(10): This                   components for the ammunition in this                  PART 123—LICENSES FOR THE
                                          provision is applicable to those                        category and specially designed parts                  EXPORT OF DEFENSE ARTICLES
                                          contracts or other funding                              therefor;
                                          authorizations that are dated January 23,                  (13) Terminal seeker assemblies for                 ■ 3. The authority citation for part 123
                                          2021, or later.                                         the ammunition in this category and                    continues to read as follows:
                                              (b) Ammunition/ordnance handling                    specially designed parts and                             Authority: Secs. 2, 38, and 71, Pub. L. 90–
                                          equipment specially designed for the                    components therefor;                                   629, 90 Stat. 744 (22 U.S.C. 2752, 2778,
                                          articles controlled in this category, as                   (14) Illuminating flares or target                  2797); 22 U.S.C. 2753; 22 U.S.C. 2651a; 22
                                          follows:                                                practice projectiles for the ammunition                U.S.C. 2776; Pub. L. 105–261, 112 Stat. 1920;
                                              (1) Belting, linking, and de-linking                controlled in paragraph (a)(9) of this                 Sec 1205(a), Pub. L. 107–228; Sec. 520, Pub.
                                          equipment; or                                           category; or                                           L. 112–55; Section 1261, Pub. L. 112–239;
                                              (2) Fuze setting devices.                              *(15) Any part, component, accessory,               E.O. 13637, 78 FR 16129.
                                              (c) [Reserved]                                      attachment, equipment, or system that:                 ■ 4. Section 123.15 is amended by
                                              (d) Parts and components for the                       (i) Is classified;                                  revising paragraph (a)(3) to read as
                                          articles in this category, as follows:                     (ii) Contains classified software; or
                                              (1) Projectiles that use pyrotechnic                                                                       follows:
                                                                                                     (iii) Is being developed using
                                          tracer materials that incorporate any                   classified information.                                § 123.15 Congressional certification
                                          material having peak radiance above                        Note 1 to paragraph (d)(15):                        pursuant to Section 36(c) of the Arms
                                          710 nm or are incendiary or explosive;                  ‘‘Classified’’ means classified pursuant               Export Control Act.
                                              (2) Shotgun projectiles that are                                                                             (a) * * *
                                                                                                  to Executive Order 13526, or
                                          flechettes, incendiary, tracer, or                                                                               (3) A license for export of defense
                                                                                                  predecessor order, and a security
                                          explosive;                                                                                                     articles controlled under Category I
                                              Note 1 to paragraph (d)(2): This                    classification guide developed pursuant
                                                                                                  thereto or equivalent, or to the                       paragraphs (a) through (g) of the United
                                          paragraph does not include explosive                                                                           States Munitions List, § 121.1 of this
                                          projectiles specially designed to                       corresponding classification rules of
                                                                                                  another government or                                  subchapter, in an amount of $1,000,000
                                          produce noise for scaring birds or other                                                                       or more.
                                          pests (e.g., bird bombs, whistlers,                     intergovernmental organization.
                                          crackers).                                                 (e) Technical data (see § 120.10 of this            *     *     *     *     *
                                              (3) Projectiles of any caliber produced             subchapter) and defense services (see                  ■ 5. Section 123.16 is amended by
                                          from depleted uranium;                                  § 120.9 of this subchapter) directly                   revising paragraphs (b)(2) introductory
                                              (4) Projectiles not specified above,                related to the defense articles                        text and (b)(6) and removing and
                                          guided or unguided, for the items                       enumerated in paragraphs (a), (b), and                 reserving paragraph (b)(7) to read as
                                          controlled in USML Category II, and                     (d) of this category and classified                    follows:
                                          specially designed parts and                            technical data directly related to items
                                                                                                  controlled in ECCNs 0A505, 0B505,                      § 123.16 Exemptions of general
                                          components therefor (e.g., fuzes,                                                                              applicability.
                                          rotating bands, cases, liners, fins,                    0D505, and 0E505 and defense services
                                          boosters);                                              using the classified technical data. (See              *      *     *    *      *
                                              (5) Canisters or sub-munitions (e.g.,               § 125.4 of this subchapter for                            (b) * * *
                                          bomblets or minelets), and specially                    exemptions.)                                              (2) Port Directors of U.S. Customs and
                                          designed parts and components                              (f)–(w) [Reserved]                                  Border Protection shall permit the
                                          therefor, for the guns or armament                         (x) Commodities, software, and                      export of parts or components without
                                          controlled in USML Category II;                         technology subject to the EAR (see                     a license when the total value does not
                                              (6) Projectiles that employ tips (e.g.,             § 120.42 of this subchapter) used in or                exceed $500 in a single transaction and:
                                          M855A1 Enhanced Performance Round                       with defense articles.                                 *      *     *    *      *
                                          (EPR)) or cores regardless of caliber,                     Note to paragraph (x): Use of this                     (6) For exemptions for personal
                                          produced from one or a combination of                   paragraph is limited to license                        protective gear, refer to § 123.17.
                                          the following: Tungsten, steel, or                      applications for defense articles where                   (7) [Reserved]
                                          beryllium copper alloy;                                 the purchase documentation includes                    *      *     *    *      *
                                              (7) Cartridge cases, powder bags, or                commodities, software, or technology                   ■ 6. Section 123.17 is amended by
                                          combustible cases specially designed for                subject to the EAR (see § 123.1(b) of this             revising the section heading, removing
                                          the items controlled in USML Category                   subchapter).                                           and reserving paragraphs (a) through (e),
                                          II;                                                        Note 1 to Category III: This category               and revising paragraph (j) to read as
                                              (8) Non-metallic cases, including                   does not control ammunition crimped                    follows:
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                                          cases that have only a metallic base, for               without a projectile (blank star) and
                                          the ammunition controlled in paragraph                  dummy ammunition with a pierced                        § 123.17   Exemption for personal protective
                                          (a)(5) of this category;                                powder chamber.                                        gear.
                                              (9) Cartridge links and belts for fully                Note 2 to Category III: This category               *      *     *      *    *
                                          automatic firearms and guns controlled                  does not control cartridge and shell                     (j) If the articles temporarily exported
                                          in USML Categories I or II;                             casings that, prior to export, have been               pursuant to paragraphs (f) through (i) of


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                                          this section are not returned to the                    § 126.1 Prohibited exports, imports, and                 (1) Any foreign defense article or
                                          United States, a detailed report must be                sales to or from certain countries.                    defense service enumerated in part 121
                                          submitted to the Office of Defense Trade                *     *    *      *    *                               of this subchapter (see § 120.44 of this
                                          Controls Compliance in accordance                         (s) Zimbabwe. It is the policy of the                subchapter, and § 129.5 for exemptions)
                                          with the requirements of § 127.12(c)(2)                 United States to deny licenses or other                and those foreign origin items on the
                                          of this subchapter.                                     approvals for exports or imports of                    U.S. Munitions Import List (see 27 CFR
                                          *     *     *     *     *                               defense articles and defense services                  447.21); or
                                                                                                  destined for or originating in Zimbabwe,                 (2) * * *
                                          § 123.18   [Removed and Reserved]                       except that a license or other approval                  (i) Firearms and other weapons of a
                                          ■ 7. Section 123.18 is removed and                      may be issued, on a case-by-case basis,                nature described by Category I(a)
                                          reserved.                                               for the temporary export of firearms and               through (d), Category II(a) and (d), and
                                                                                                  ammunition for personal use by                         Category III(a) of § 121.1 of this
                                          PART 124—AGREEMENTS, OFF-                               individuals (not for resale or retransfer,             subchapter or Category I(a) through (c),
                                          SHORE PROCUREMENT, AND OTHER                            including to the Government of                         Category II(a), and Category III(a) of the
                                          DEFENSE SERVICES                                        Zimbabwe).                                             U.S. Munitions Import List (see 27 CFR
                                                                                                  *     *    *      *    *                               447.21);
                                          ■ 8. The authority citation for part 124                                                                       *     *     *     *     *
                                          continues to read as follows:                           PART 129—REGISTRATION AND                              ■ 16. Section 129.6 is amended by
                                            Authority: Secs. 2, 38, and 71, Pub. L. 90–
                                                                                                  LICENSING OF BROKERS                                   revising paragraph (b)(3)(i) to read as
                                          629, 90 Stat. 744 (22 U.S.C. 2752, 2778,                ■ 12. The authority citation for part 129              follows:
                                          2797); 22 U.S.C. 2651a; 22 U.S.C. 2776;
                                          Section 1514, Pub. L. 105–261; Pub. L. 111–
                                                                                                  continues to read as follows:                          § 129.6   Procedures for obtaining approval.
                                          266; Section 1261, Pub. L. 112–239; E.O.                  Authority: Section 38, Pub. L. 104–164,              *     *     *     *   *
                                          13637, 78 FR 16129.                                     110 Stat. 1437, (22 U.S.C. 2778); E.O. 13637,            (b) * * *
                                                                                                  78 FR 16129.
                                          ■ 9. Section 124.14 is amended by                                                                                (3) * * *
                                          revising paragraph (c)(9) to read as                    ■ 13. Section 129.1 is amended by                        (i) The U.S. Munitions List (see
                                          follows:                                                revising paragraph (b) to read as follows:             § 121.1 of this subchapter) or U.S.
                                                                                                                                                         Munitions Import List (see 27 CFR
                                          § 124.14 Exports to warehouses or                       § 129.1    Purpose.
                                                                                                                                                         447.21) category and sub-category for
                                          distribution points outside the United                  *       *   *     *     *                              each article;
                                          States.                                                   (b) All brokering activities identified
                                                                                                                                                         *     *     *     *   *
                                          *      *     *     *    *                               in this subchapter apply equally to
                                             (c) * * *                                            those defense articles and defense                     Michael R. Pompeo,
                                                                                                  services designated in § 121.1 of this                 Secretary of State.
                                             (9) Unless the articles covered by the
                                                                                                  subchapter and those items designated                  [FR Doc. 2020–00574 Filed 1–17–20; 11:15 am]
                                          agreement are in fact intended to be
                                                                                                  in 27 CFR 447.21 (U.S. Munitions
                                          distributed to private persons or entities                                                                     BILLING CODE 4710–25–P
                                                                                                  Import List).
                                          (e.g., cryptographic devices and
                                                                                                  ■ 14. Section 129.2 is amended by:
                                          software for financial and business
                                                                                                  ■ a. In paragraph (b)(2)(v), removing the
                                          applications), the following clause must                                                                       DEPARTMENT OF THE TREASURY
                                          be included in all warehousing and                      word ‘‘or’’ at the end of the paragraph;
                                                                                                  ■ b. Removing the ‘‘.’’ at the end of                  Internal Revenue Service
                                          distribution agreements: ‘‘Sales or other
                                                                                                  paragraph (b)(2)(vi) and adding ‘‘;’’ in its
                                          transfers of the licensed article shall be
                                                                                                  place; and                                             26 CFR Part 1
                                          limited to governments of the countries                 ■ c. Adding paragraphs (b)(2)(vii) and
                                          in the distribution territory and to                    (viii).                                                [TD 9891]
                                          private entities seeking to procure the                   The addition reads as follows:
                                          licensed article pursuant to a contract                                                                        RIN 1545–BM95
                                          with a government within the                            § 129.2    Definitions.
                                                                                                                                                         Transfers of Certain Property by U.S.
                                          distribution territory, unless the prior                *      *     *     *     *                             Persons to Partnerships With Related
                                          written approval of the U.S. Department                    (b) * * *                                           Foreign Partners
                                          of State is obtained.’’                                    (2) * * *
                                          *      *     *     *    *                                  (vii) Activities by persons to facilitate           AGENCY:  Internal Revenue Service (IRS),
                                                                                                  the manufacture in the United States or                Treasury.
                                          PART 126—GENERAL POLICIES AND                           export of an item subject to the EAR; or               ACTION: Final regulations and removal of
                                          PROVISIONS                                                 (viii) Activities by persons to facilitate          temporary regulations.
                                                                                                  the reexport, or transfer of an item
                                          ■ 10. The authority citation for part 126               subject to the EAR that has been                       SUMMARY:   This document contains final
                                          continues to read as follows:                           approved pursuant to a license, license                regulations that provide guidance
                                            Authority: Secs. 2, 38, 40, 42 and 71, Pub.           exception, or no license required                      applicable to transfers of appreciated
                                          L. 90–629, 90 Stat. 744 (22 U.S.C. 2752, 2778,          authorization under the EAR or a                       property by U.S. persons to partnerships
                                          2780, 2791 and 2797); 22 U.S.C. 2651a; 22               license or other approval under this                   with foreign partners related to the
                                          U.S.C. 287c; E.O. 12918, 59 FR 28205; 3 CFR,            subchapter.                                            transferor. Specifically, when a U.S.
                                          1994 Comp., p. 899; Sec. 1225, Pub. L. 108–             *      *     *     *     *                             person transfers appreciated property to
                                          375; Sec. 7089, Pub. L. 111–117; Pub. L. 111–
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                                                                                                  ■ 15. Section 129.4 is amended by                      a partnership with a foreign partner
                                          266; Section 7045, Pub. L. 112–74; Section                                                                     related to the transferor, the regulations
                                          7046, Pub. L. 112–74; E.O. 13637, 78 FR                 revising paragraphs (a)(1) and (a)(2)(i) to
                                                                                                  read as follows:                                       override the general nonrecognition rule
                                          16129.
                                                                                                                                                         unless the partnership adopts the
                                          ■ 11. Section 126.1 is amended by                       § 129.4    Requirement for approval.                   remedial allocation method and certain
                                          revising paragraph (s) to read as follows:                  (a) * * *                                          other requirements are satisfied. The


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